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SECTION 5.2. Canadian Bankruptcy Actions.

(a) Canadian Approval and Vesting Order. As promptly as practicable, but in
no event later than the third Business Day following the completion of the Auction, and subject
to their rights and obligations set forth in the Canadian Sales Process Order, the Canadian
Debtors shall serve on the Canadian Debtors’ service list as supplemented with such additional
parties as the Purchaser may reasonably request, one or more motion records including one or
more notices of motions and affidavits all in form and substance reasonably satisfactory to the
Purchaser, including a draft Canadian Approval and Vesting Order (the “Canadian Approval
and Vesting Order Motion”) and shall file such motion records with the Canadian Court and
use reasonable best efforts to seek an order (as granted, the “Canadian Approval and Vesting
Order”) of the Canadian Court to be entered no later than July 15, 2011, seeking approval of the
sale of the Assets; provided that in any event the Canandian Approval and Vesting Order shall be
entered no later than 45 days from the date of this Agreement. The Canadian Approval and
Vesting Order shall be in the form attached as Exhibit G hereto, with only such changes as the
Purchaser and the Sellers shall approve in their reasonable discretion; provided, howeve 1, that
the Purchaser may withhold its consent to any modifications that affect the relief granted in or
the findings of fact and conclusions of law expressed in paragraphs 1, 3, 6, 8, 10, 11, 13 through
15, 17 through 21, 22 through 24 of the Canadian Approval and Vesting Order in its sole
discretion; provided, furt her,howev er,that the P urchaser may not withhold its consent to a
modification to paragraphs 1 and 3 of the Canadian Approval and Vesting Order if (4) the sole
effect of such modification would be to eliminate any differences between the Canadian
Approval and Vesting Order and the form Canadian Approval and Vesting Order attached to the
Canadian Approval and Vesting Order Motion and (ii) the Canadian Debtors used their best
efforts to obtain Canadian Court approval of paragraphs 1 and 3 of the Canadian Approval and
Vesting Order.

(b) Subject to the provisions of this Agreement, the Canadian Debtors shall
use their reasonable best efforts to obtain Canadian Court approval of the Canadian Approval
and Vesting Order.

SECTION 5.3. [Reserved]

SECTION 5.4. Consultation: Notification.

(a) The Purchaser and the U.S. Debtors shall cooperate in obtaining entry of
the U.S. Sale Order, and the U.S. Debtors shall deliver to the Purchaser prior to filing, and as
early in advance as is practicable to permit adequate and reasonable time for the Purchaser and
its counsel to review and comment, copies of all proposed pleadings, motions, notices,
statements, schedules, applications, reports and other material papers to be filed by the U.S.
Debtors in connection therewith and any objections thereto.

(b) The Purchaser and the Canadian Debtors shall cooperate with filing and
prosecuting the Canadian Approval and Vesting Order Motion, and in obtaining entry of the
Canadian Approval and Vesting Order, and the Canadian Debtors shall deliver to the Purchaser
prior to filing, and as early in advance as is practicable to permit adequate and reasonable time
for the Purchaser and its counsel to review and comment, copies of all proposed pleadings,

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motions, notices, statements, schedules, applications, reports and other material papers to be filed
by the Canadian Debtors in connection with such motions and relief requested therein and any
objections thereto.

(c) If the U.S. Sale Order or any other order of the U.S. Bankruptcy Court
granting the relief relating to this Agreement set forth in Section 5.1 shall be appealed by any
Person (or a petition for certiorari or motion for rehearing, re-argument or stay shall be filed with
respect thereto), the U.S. Debtors agree to, and to cause their Affiliates to, use their reasonable
best efforts to, defend against such appeal, petition or motion, and the Purchaser agrees to
cooperate in such efforts. Each of the Parties hereby agrees to use its reasonable best efforts to
obtain an expedited resolution of such appeal, petition or motion; provided,however , that,
subject to the conditions set forth herein, nothing contained in this Section shall preclude the
Parties from consummating the transactions contemplated hereby if the U.S. Sale Order shall
have been entered but shall not have become a Final Order, or require the Parties to do so unless
they mutually so agree.

(d) If the Canadian Approval and Vesting Order or any other order of the
Canadian Court granting the relief relating to this Agreement set forth in Section 5.2 shall be
appealed by any Person (or an application for certiorari or motion for leave to appeal, rehearing,
re-argument, variation or vacating or stay shall be filed with respect thereto), the Canadian
Debtors agree to, and to cause their Affiliates to, take all reasonable steps, and use their
reasonable best efforts, including incurring reasonable legal expenses, to defend against such
appeal, application or motion, and the Purchaser agrees to cooperate in such efforts. Each of the
Parties hereby agrees to use its reasonable best efforts to obtain an expedited resolution of such
appeal, application or motion; provided,however , that, subject to the conditions set forth herein,
nothing in this Section shall preclude the Parties from consummating the transactions
contemplated hereby if the Canadian Approval and Vesting Order shall have been entered but
shall not have become a Final Order, or require the Parties to do so unless they mutually so
agree.

(e) If the French Court Order or any other order of the French Court relating
to this Agreement shall be appealed or opposed by any Person (or a stay shall be filed with
respect thereto), NNSA agrees to take all reasonable steps, and use its reasonable best efforts,
including incurring reasonable expenses, to defend against such appeal, opposition or stay, and
the Purchaser agrees to cooperate in such efforts. Each of the Parties hereby agrees to use its
reasonable best efforts to obtain an expedited resolution of such appeal, opposition or stay;
provided,howev er, that, subject to the conditions set forth herein, nothing in this Section shall
preclude the Parties from consummating the transactions contemplated hereby if the French
Court Order shall have been entered but shall not have become a Final Order, or require the
Parties to do so unless they mutually so agree.

SECTION 5.5. Pre-Closing Cooperation.

(a) Prior to the Closing, subject to the terms and conditions of this Agreement
(including Section 5.6, which, for the avoidance of doubt, shall exclusively govern the Parties’
obligations with respect to seeking the Mandatory Regulatory Approvals and any other Consents
of applicable Government Entities other than those set forth in Section 5.6(g)), each of the

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Primary Parties shall (and each Primary Party shall cause its Subsidiaries and Affiliates to) use
its reasonable best efforts to take, or cause to be taken, all actions and to do, or cause to be done,
and to cooperate with the other Primary Party and its Subsidiaries and Affiliates in order to do or
cause to be done, all things necessary, proper or advisable under applicable Law to consummate
the transactions contemplated by this Agreement as soon as practicable and cause the fulfillment
at the earliest practicable date of the conditions to the Parties’ obligations to consummate the
transactions contemplated by this Agreement as set forth in Section 7.1, including: (i) without
limiting Section 5.8(a), using reasonable best efforts to prepare and make filings with the
appropriate Government Entities as necessary to record one of the Sellers as the owner of the
Patents listed on Section 5.5(a) of the Sellers Disclosure Schedule and any other Assets where
further action and cooperation is required by Sellers to vest title with the Purchaser at Closing;
(ii) defending all lawsuits and other proceedings by or before any Government Entity
challenging this Agreement or the consummation of the Closing; (iii) causing to be lifted or
rescinded any injunction, decree, ruling, order or other action of any Government Entity
adversely affecting the ability of the Parties to consummate the Closing; and (iv) more generally,
to facilitate an orderly transition at Closing, working with outside counsel on the prosecution of
pending patent applications and maintenance of existing patents within the Transferred Patents
and Purchased Specified UK Patents.

(b) Each Primary Party shall promptly notify the other Primary Party of the
occurrence, to such party’s Knowledge, of any event or condition, or the existence, to such
party’s Knowledge, of any fact, that would reasonably be expected to result in any of the
conditions to the other Primary Party’s obligation to effect the Closing set forth in Article VII not
being satisfied.

(c) From and after the date hereof, (i) no Seller may affirmatively take any
material steps in furtherance of an Asset Retention Transaction and (ii) until the date following
the Closing Date, no Seller may seek or support (A) the conversion of any of the Chapter 11
Cases to a case under chapter 7 of the U.S. Bankruptcy Code, (B) the appointment of a trustee,
receiver, receiver and manager or liquidator in respect of any Canadian Debtor, (C) the dismissal
of any CCAA Cases or (D) the conversion of any CCAA Cases to bankruptcy cases under the
Bankruptcy and Insolvency Act or applicable Canadian Bankruptcy Laws.

(d) From and after the date hereof, NNL shall use commercially reasonable
efforts to (and Purchaser shall cooperate with NNL’s efforts to) confirm that the execution of the
Assumption Agreement by the parties thereto will satisfy the requirements of paragraph 7 of the
CDMA Vesting Order; provided that this Section 5.5(d) shall not require the Purchaser, NNL or
their Affiliates to make any payment, deliver anything of value or incur any expense, nor require
the Purchaser or its Affiliates to assume any obligations that are not obligations of NNL under
the IP Licenses (as such term is defined in the CDMA Vesting Order) with respect to the
Transferred Patents, Purchased Specified UK Patents or other Patents or invention disclosures
acquired by the Purchaser pursuant to this Agreement. Upon or prior to the Closing, the
Purchaser shall execute and deliver the Assumption Agreement substantially in the form attached
as Exhibit J hereto.

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SECTION 5.6. Antitrust and Other Regulatory Approvals.

(a) Each of the Parties agrees to prepare and file as promptly as practicable all
necessary documents, registrations, statements, petitions, filings and applications for the
Mandatory Regulatory Approvals, and any other Consent of any other Government Entities
either required or that the Primary Parties mutually and reasonably agree are advisable to satisfy
the condition set forth in Section 7.1(a) as expeditiously as possible, and in any event by no later
than twenty (20) Business Days from the date of this Agreement (or on such other subsequent
day as the notifying Parties mutually agree (or the earlier date required by applicable Laws)).

(b) If a Party or any of its Affiliates receives a request for information or
documentary material from any Government Entity with respect to this Agreement or any of the
transactions contemplated by this Agreement, then such Party shall make, or cause to be made,
as soon as reasonably practicable and after consultation with all other Primary Parties and the
Joint Administrators, an appropriate response in compliance with such request.

(c) The Parties shall keep each other and the Joint Administrators apprised of
the status of matters relating to the completion of the transactions contemplated by this
Agreement and work cooperatively in connection with obtaining the Mandatory Regulatory
Approvals and Consents (and including in respect of responding to any information request from
any Government Entity with respect to this Agreement or any of the transactions contemplated
hereby pursuant to the applicable Antitrust Laws or Laws regulating foreign investment) of each
applicable Government Entity, including:

(i) cooperating with each other and the Joint Administrators in
connection with the filings required under the applicable Antitrust Laws or any
Laws regulating foreign investment of any jurisdiction in connection with the
transactions contemplated by this Agreement and each Mandatory Regulatory
Approval and other Consents, and consulting with each other and the Joint
Administrators in relation to each step of the procedure before the relevant
Government Entities and as to the contents of all communications with such
Government Entities. In particular, to the extent permitted by Law or
Government Entity, no Party will make any submission, filing, notification, or
communication in relation to the transactions contemplated hereunder without
first providing the other Parties and the Joint Administrators with a copy of such
notification in draft form (subject to reasonable redactions or limiting such draft,
or parts thereof, on an outside-counsel-only basis where appropriate) and giving
such other Party or Parties and the Joint Administrators a reasonable opportunity
to discuss its content before it is filed with the relevant Government Entities, and
such first Party shall consider in good faith all reasonable comments timely made
by the other Parties and the Joint Administrators in this respect;

(ii) | furnishing to the other Parties and the Joint Administrators (on an
outside-counsel-only basis where appropriate) all information within its
possession that is reasonably required for obtaining the Mandatory Regulatory
Approvals and other Consents, or reasonably required for any application or other
filing to be made by the other Party pursuant to the applicable Antitrust Laws or

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any Laws regulating foreign investment of any jurisdiction in connection with the
transactions contemplated by this Agreement; provided,howeve r, that (a) no such
information shall be required to be provided by a Party if it determines, acting
reasonably, that the provision of such information would jeopardize any attorney-
client or other legal privilege or that such information is material and
competitively sensitive (it being understood, however, that the Parties shall
cooperate in any reasonable requests that would enable an otherwise required
production to occur without so jeopardizing privilege or jeopardizing the
confidentiality of any such material and competitively sensitive information) and
(b) in any such case the Parties shall cooperate with a view to establishing a
mutually satisfactory procedure for providing such information, and the relevant
Party required to provide such information shall provide it directly to such
Government Entity requiring or requesting such information;

(iii)promptl —_y notifying each other and the Joint Administrators of any
substantive communications from or with any Government Entity with respect to
the transactions contemplated by this Agreement (including promptly providing
copies of all written communications on an outside-counsel-only basis where
appropriate) and ensuring, to the extent permitted by Law and by the relevant
Government Entity, that each of the Parties and the Joint Administrators is
entitled to attend any meetings (including telephonic and video meetings) with, or
other appearances before, any Government Entity with respect to the transactions
contemplated by this Agreement; and

(iv) consulting and cooperating with one another and the Joint
Administrators in connection with all analyses, appearances, presentations,
memoranda, briefs, arguments, opinions and proposals made or submitted by or
on behalf of any party hereto in connection with proceedings under or relating to
the Mandatory Regulatory Approvals, and other Consents, the applicable
Antitrust Laws or any Laws regulating foreign investment of any jurisdiction, in
connection with the transactions contemplated by this Agreement;

provided,howev er, that notwithstanding anything to the contrary in this Agreement (except
Section 5.6(a)), the Purchaser will have the right to determine and direct the strategy and process
(including all timing and substantive matters) by which the Parties will seek the Mandatory
Regulatory Approvals and other Consents of applicable Government Entities, and under
applicable Antitrust Laws or any Laws regulating foreign investment of any jurisdiction
(including all elements of any Actions and communications with Government Entities); provided
that the Purchaser will exercise such right in accordance with clauses (i) through (iv) of this
Section 5.6(c). Subject to the Purchaser’s obligations under the preceding sentence, the Sellers
shall, and shall use their best efforts to cause their respective Affiliates to comply, without
unreasonable delay, with all such determinations and directions by the Purchaser and supply the
Purchaser with all information reasonably requested by the Purchaser in connection with making
such determinations.

(d) Subject to the limitations in Section 5.6(e), each of the Primary Parties
shall use its reasonable best efforts to satisfy (or cause the satisfaction of) the conditions

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precedent to each respective Primary Party’s obligations hereunder as set forth in Sections 7.1(a)
and (b) to the extent the same is within its control and to take, or cause to be taken, all other
action and to do, or cause to be done, all other things necessary, proper or advisable under all
applicable Laws to consummate the transactions contemplated by this Agreement, including
using its reasonable best efforts to make all required filings and obtain all Mandatory Regulatory
Approvals, and any other Consent of a Government Entity required to be obtained in order for
the Parties to consummate the transactions contemplated by this Agreement.

(e) The obligations of the Purchaser pursuant to Section 5.6(d) shall include
committing to any and all undertakings, divestitures, licenses or hold separate or similar
arrangements with respect to the Assets and to any and all arrangements for the conduct of any
business and/or terminating any and all existing relationships and contractual rights and
obligations with respect to the Assets as a condition to obtaining any and all Consents from any
Government Entity necessary to consummate the transactions contemplated by this Agreement,
including taking any and all actions necessary in order to ensure the receipt of the necessary
Consents, the obtaining of all Mandatory Regulatory Approvals, or the termination, waiver or
expiration of the necessary waiting periods under any other applicable Antitrust Laws or
investment or similar Law without any reduction of the consideration paid to the Sellers;
provided, howev er, that notwithstanding anything to the contrary in this Section 5.6 or otherwise
in this Agreement, the Purchaser shall be required to offer, negotiate or commit to any of the
foregoing actions only to the extent required to cause the satisfaction of the conditions set forth
in Section 7.1(a) and Section 7.1(b) that relate to Consents from any Government Entity
necessary to consummate the transactions contemplated by this Agreement so that the Closing
may occur by the last Business Day before the Outside Date. The Parties further agree that the
obligation of the Purchaser under this Section 5.6 is limited solely to the Assets, and does not
apply to or require any action with respect to any of the assets or businesses or contractual
relationships of the Purchaser or any of its Affiliates.

(f) Notwithstanding anything in this Agreement to the contrary, if at any time
(i) all of the conditions to the Closing set forth in Article VII other than the condition in
Section 7.1(b) are satisfied (or were capable of being satisfied should Closing occur on the next
Business Day); and (ii) the condition in Section 7.1(b) is not satisfied as a result of the existence
of any Law, or any order, injunction, decree or judgment of any court or other Government
Entity that purports to prohibit, prevent or make illegal the consummation of any of the
transactions contemplated hereby in one or more jurisdictions other than Canada, France,
Germany, the United Kingdom and the United States (each such other jurisdiction, a “Deferred
Jurisdiction”), then if either the Sellers, on one hand, or the Purchaser, on the other, so request
in their sole discretion, the Parties shall negotiate in good faith an amendment of this Agreement
to provide for (x) the immediate consummation of the transactions contemplated by this
Agreement in all applicable jurisdictions other than any Deferred Jurisdiction, and (y) a delay in
the consummation of the transactions contemplated by this Agreement in each Deferred
Jurisdiction until the condition in Section 7.1(b) is satisfied as to such Deferred Jurisdiction,
provided that if the Purchaser reasonably determines in good faith that it would be impossible for
the Purchaser to comply with this Section 5.6(f) without meaningful adverse consequences to the
Purchaser or the Purchaser’s Affiliates, the Purchaser shall not be required to undertake the
foregoing actions, and provided,further , that if the Purchaser requests the negotiation of an

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amendment of this Agreement pursuant to this Section 5.6(f), the Sellers shall not be required to
agree to any reduction in, or any delay in payment of, the Purchase Price.

(g) The covenants under this Section 5.6 shall not apply to any action, effort,
filing, Consent, proceedings, or other activity or matter under any Bankruptcy Law relating to
the Bankruptcy Courts, the Bankruptcy Proceedings and/or the Bankruptcy Consents.

SECTION 5.7. Public Announcements. Subject to the Parties’ disclosure
obligations imposed by Law (including any obligations under any Bankruptcy Laws), the Parties
shall (a) cooperate with each other in the development and distribution of all news releases, other
public information disclosures and announcements, including announcements and notices to
customers, suppliers and employees, with respect to this Agreement, or any of the transactions
contemplated by this Agreement and the other Transaction Documents and (b) not issue any such
announcement or statement prior to consultation with, and the approval of, the Primary Parties
(such approval not to be unreasonably withheld or delayed); provided that approval shall not be
required (i) where a Party determines, based on advice of counsel and after consultation with the
Primary Parties, that such disclosure is required by Law or the rules of any stock exchange on
which the securities of such Party or any of its Affiliates are listed and (ii) after the public
announcement of this Agreement and the transactions contemplated hereunder, with respect to
public disclosures and announcements by the Purchaser and its Affiliates relating to the Assets
after Closing, provided that to the extent reasonably practicable the Purchaser shall not make any
public disclosure or announcement contemplated by this clause (ii) without first consulting the
other Primary Party.

SECTION 5.8. Further Actions.

(a) Without limiting the foregoing, on and after the Closing Date, each Party
shall cooperate with the other Parties, without any further consideration, to cause to be executed
and delivered, all instruments, including instruments of conveyance, novations, assignment and
transfer, and to make all filings with, and to obtain all consents, under any permit, license,
agreement, indenture or other instrument or regulation, and to take all such other actions as any
of the Parties may reasonably request any other Parties to take from time to time, consistent with
the terms of this Agreement, in order to effectuate the provisions and purposes of this Agreement
and the other Transaction Documents; provided that, (i) notwithstanding anything to the contrary
in this Agreement, recordation or registration of the Short-Form Assignments or any other
document evidencing the assignment of the Transferred Patents and Specified UK Patents from
the Sellers to the Purchaser shall be the Purchaser’s responsibility and at its sole cost and
expense, and (ii) subject to Section 5.5 and Section 5.6, neither the Purchaser nor the Sellers
shall be obligated to make any payment or deliver anything of value (unless, in the case of the
Sellers, the Purchaser offers to promptly reimburse or indemnify the Sellers for such payment or
delivery) to any Third Party (other than filing and application fees to Government Entities and
payment of Cure Costs for which such Party is responsible pursuant to Section 2.1.7) in order to
obtain any Consent to the transfer of Assets or the assumption of Assumed Liabilities.

(b) Subject to Section 5.11, and, with respect to Patent Related
Documentation relating to Purchased Specified UK Patents, to the extent permitted under
applicable Law, as soon as practicable following the transfer of the Transferred Patents and

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Purchased Specified UK Patents pursuant to the terms of this Agreement, the Sellers shall, in
each case except for Patent Related Documentation that has been delivered pursuant to

Section 2.3.2(b)(v): (i) deliver to the Purchaser or counsel designated by the Purchaser at
locations to be designated by Purchaser copies (which, except for the items listed in clauses

(i) and (vi) of the definition of “Patent Related Documentation,” may be electronic copies) of all
the tangible embodiments of the Patent Related Documentation existing as of the Closing Date
and in the Sellers’ possession that is related to such Transferred Patents or Purchased Specified
UK Patents, and (ii) instruct all of the Sellers’ outside counsel (A) that the ownership of such
Transferred Patents, Purchased Specified UK Patents and Patent Related Documentation has
been assigned to the Purchaser as of the Closing Date, (B) to release to the Purchaser or counsel
designated by the Purchaser at locations to be designated by Purchaser copies (which, except for
the items listed in clauses (i) and (vi) of the definition of “Patent Related Documentation,” may
be electronic copies) of all the tangible embodiments of the Patent Related Documentation
existing as of the Closing Date and in such counsel’s possession that is related to the Transferred
Patents or Purchased Specified UK Patents, and (C) that the Purchaser or counsel designated by
the Purchaser may contact such Sellers’ counsel for coordination relative to further prosecution
of such Transferred Patents or Purchased Specified UK Patents at the Purchaser’s expense. The
Sellers shall also include in such correspondence any other information that the Purchaser
reasonably instructs the Sellers to include and is communicated to the Sellers prior to the Closing
Date.

(c) The Purchaser shall pay or reimburse the Sellers for all Agreed Expenses
promptly after receipt of notice and demand therefor.

(d) Sellers shall use their reasonable best efforts to obtain, as promptly as
practicable and in any event prior to the commencement of the Auction, final, executed and
effective copies of the Outbound License Agreements, Cross License Agreements and Joint
Ownership Agreements listed in Section 2.3.2(b) of the Sellers Disclosure Schedule. Such
reasonable best efforts shall include requesting production of such copies from the counterparties
thereto and, to the extent reasonably practicable and permitted by applicable Law, seeking a
court order to compel such production by such counterparties.

SECTION 5.9. Conduct of Business. The Sellers covenant that, from and
after the date hereof until the Closing Date, subject to any limitation imposed as a result of being
subject to the Bankruptcy Proceedings, and except as (i) the Purchaser may approve otherwise in
writing, (ii) set forth in Section 5.9 of the Sellers Disclosure Schedule, (iii) required by Law
(including any Bankruptcy Law of general applicability) but subject to Section 5.6(e),

(iv) otherwise expressly contemplated or permitted by this Agreement, or (v) relates solely to
Excluded Assets or Excluded Liabilities, the Sellers shall:

(a) notify the Purchaser as promptly as practicable after becoming aware of
any event, development or condition that has had or would reasonably be expected to have a
Material Adverse Effect on the Assets;

(b) use commercially reasonable efforts (but in any case no less efforts than
the Sellers use with respect to their own assets of a similar nature) to maintain the confidentiality

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(to the extent not publicly available), integrity and use of the Assets, and the availability of
appropriate “back-up” copies thereof,

(c) not take any of the following actions:

(i) directly or indirectly (including by operation of law or through any
merger, consolidation, reorganization, issuance of securities or rights, license,
lease, encumbrance or otherwise) sell, assign, convey, transfer, license, lease or
otherwise dispose of any Assets (except to the extent that such activities would be
permitted after the Closing Date pursuant to the terms of the Closing Date License
Agreement);

(ii) incur any Lien on any Assets, other than (A) Liens that will be
discharged at or prior to Closing and (B) Permitted Encumbrances;

(iii)gr ant any license or sublicense of any rights under or with respect
to any Assets (except to the extent that such activities would be permitted after the
Closing Date pursuant to the terms of the Closing Date License Agreement);

(iv) waive, release, assign, settle or compromise any Action relating to
the Assets to the extent that such waiver, release, assignment, settlement or
compromise imposes any obligation, whether contingent or realized, upon the
Purchaser or any of its Affiliates or the Assets or that materially affects any
Seller’s title to or the value of any Transferred Patent, Jointly Owned Patent or
Specified UK Patent;

(v) enter into any Contract granting an indemnity that would impose
any obligation upon the Purchaser or any of its Affiliates or the Assets;

(vi) modify, amend or change, in each case, in any material respect, or
terminate (other than with respect to any Cross-License Agreements or Outbound
License Agreements), or expressly waive compliance with the terms of or
breaches under, or expressly waive, release, assign or terminate any rights or
claims under, any term of any Transferred License, any non-disclosure agreement
or any other agreement (including any Cross-License Agreement or Outbound
License Agreement) relating to the sale or licensing of the Assets;

(vii) fail to make any filing, pay any fee, or take any other action
consistent with past practice of the Sellers (including, after consultation with the
Purchaser, responding to assertions of invalidity by Third Parties of which the
Sellers become aware) as necessary to maintain the ownership, validity and
enforceability of any Transferred Patent, Jointly Owned Patent or Specified UK
Patent; provided that if any Seller fails to make any such filings, pay such fee, or
take such other action consistent with past practice of the Sellers as described
above, then such Seller will, upon becoming aware of any such failure, make all
reasonable efforts to correct any adverse effects of such failure;

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(viii) take or omit to take any action, or request the Bankruptcy Court to
approve, authorize or require the Sellers to take or to omit to take any action that
would materially affect any Seller’s title to or the value of any Transferred Patent,
Jointly Owned Patent or Specified UK Patent or would otherwise breach the
Sellers’ covenants under or any other provisions of this Agreement or the
Transaction Documents, or consent to any such approval or authorization;

(ix) amend, or assign to any Third Party their rights under, any Cross-
License Agreement or Outbound License Agreement to which any Transferred
Patent, Jointly Owned Patent or Specified UK Patent is subject;

(x) fail to exercise any termination right pursuant to the terms of any
Cross-License Agreement or Outbound License Agreement provided that such
exercise would not result in the Sellers’ incurring any meaningful cost or Liability
or losing any meaningful right under such Cross-License Agreement or Outbound
License Agreement;

(xi) consent to the assignment by any counterparty to any Cross-
License Agreement or Outbound License Agreement of such counterparty’s rights
or obligations under any such agreement to any Person; or

(xii) authorize, agree or commit to do any of the foregoing.

SECTION 5.10. Transaction Expenses. Except as otherwise provided in
this Agreement or the other Transaction Documents, each of the Purchaser and the Sellers shall
bear its own costs and expenses (including brokerage commissions, finders’ fees or similar
compensation, and legal fees and expenses) incurred in connection with this Agreement, the
other Transaction Documents and the transactions contemplated hereby and thereby.

SECTION 5.11. Confidentiality.

(a) The Parties acknowledge that the Non-Disclosure Agreement and the
Supplementary Non-Disclosure Agreement, as amended from time to time, remain in full force
and effect in accordance with their terms, which are incorporated herein by reference, and the
Parties agree to be bound thereby in the same manner and to the same extent as if the terms had
been set forth herein in full, except that the Parties, the Joint Administrators and the French
Liquidator shall be at liberty to disclose the terms of this Agreement to (i) if required by order of
any court of competent jurisdiction or under any applicable Law, any court or to any court-
appointed liquidator of any of the Sellers to show appropriate figures in their administration
records, accounts and returns, (ii) the applicable Bankruptcy Court for the purposes of obtaining
the Bankruptcy Consents and to the applicable Government Entities and Third Parties for
purposes of obtaining the Mandatory Regulatory Consents or any other Consents contemplated
hereunder; and (1i1) as otherwise required by the terms and conditions of this Agreement (in
respect of Third Parties pursuant to clause (ii) other than Government Entities, without any
appurtenant schedules except for Sections 1.1(d) (Jointly Owned Patents), 1.1(h) (Listed
Patents), 1.1(k) (Listed Inventions): A.I(d) (Cross-License Agreements); A.I(e) (Outbound
License Agreements), and A.I(m) (Joint Ownership Agreements) of the Sellers Disclosure

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Schedule, and only to the extent necessary to obtain the applicable Consent). Each Primary
Party agrees not to request the other Primary Party to return or destroy Evaluation Material or
Interested Party Material (as such terms are defined in the Non-Disclosure Agreement) pursuant
to the Non-Disclosure Agreement unless this Agreement shall have terminated. The Parties
further acknowledge that the Cross License Agreements and Outbound License Agreements
provided or delivered pursuant to Sections 2.3.2(b) shall be deemed to have been provided to the
Purchaser as “Highly Confidential Information” under the Supplementary Non-Disclosure
Agreement, and the Supplementary Non-Disclosure Agreement shall apply to such documents.
The Sellers agree to treat the Sellers Disclosure Schedules as Purchaser Confidential Information
from and after the Closing.

(b) The Sellers shali not, and shall use best efforts to cause their Affiliates not
to, disclose any Purchaser Confidential Information, including by means of appropriate
redaction, other than (A) to any member of any committee of creditors which may include the
holders of, or investment managers for holders of, equity or debt securities of the Sellers,
including, without limitation, those of (i) the Official Committee of Unsecured Creditors in the
Chapter 11 Cases, (ii) the Ad-Hoc Committee of Bondholders in such Chapter 11 Cases and in
the filings made by the Sellers under the CCAA Cases, (iii) the unofficial Canadian creditors’
committee, and (iv) any other creditors’ committees or analogous bodies appointed in respect of
the EMEA Sellers and their debtor affiliates, (B) to the United States Trustee for the District of
Delaware in the Chapter 11 Cases, (C) to any monitor, administrator, trustee or similar appointed
official in any foreign proceedings, including, without limitation, Alan Bloom, Stephen Harris,
Chris Hill and Alan Hudson of Ernst & Young LLP and David Hughes of Ernst & Young
Chartered Accountants, in their capacities as the Joint Administrators, Maitre Cosme Rogeau as
French Liquidator, the Monitor in the CCAA Cases and with respect to the Sellers and each of
the foregoing persons described in clauses (A), (B) or (C), any employees, agents, advisors
(including, without limitation, attorneys, accountants, investment banks and consultants) and
other representatives thereof; provided that, in the case of each of the persons described in the
foregoing clauses (A), (B) or (C), the Sellers shall have used reasonable efforts to inform such
Persons of the confidential nature of such information, and that, to the extent such Persons are
not already required by applicable Law or any confidentiality agreement with the Sellers to keep
such information confidential, such Persons shall have agreed to be bound by confidentiality
restrictions,or (D) as may otherwise be required, based on the advice of legal counsel, under
applicable Law, including, without limitation, the Bankruptcy Laws; provided,howeve r, that to
the extent legally permissible and reasonably practicable, the Sellers shall provide the Purchaser
with prompt notice of such event described in (D) above so that, where possible, the Purchaser
may seek a protective order or other appropriate remedy and the Sellers shall cooperate with the
Interested Party in taking steps to resist or narrow the scope of such request or legal process (at
the expense of the Purchaser). In the event that such protective order or other remedy is not
obtained and any of the Sellers or their representatives are advised by legal counsel that it is
compelled by Law to disclose any information described in the foregoing sentence, the Sellers or
its representative, as the case may be, (i) may without liability hereunder furnish that portion
(and only that portion) of such information which, based on the advice of legal counsel to the
Sellers or their representatives, as the case may be, the Sellers or their representatives are legally
required to disclose and (ii) will use commercially reasonable efforts to have confidential
treatment accorded any such information so furnished. For the avoidance of doubt, none of the
Sellers shall act in furtherance of or consent to the unsealing of any Transaction Documents that

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are filed under seal unless otherwise ordered by the applicable Bankruptcy Court or unless the
Purchaser shall consent in its sole discretion.

(c) Notwithstanding the foregoing Section 5.11(a), nothing contained in this
Agreement or the Transaction Documents shall be deemed to prohibit the Parties, the Joint
Administrators, or the French Liquidator from disclosing any information as may be required,
based on the advice of legal counsel, under applicable Law, including Title 11 of the United
States Code, the CCAA, the Insolvency Act of 1986 and any other applicable bankruptcy or
insolvency Laws of any jurisdiction in which bankruptcy proceedings concerning Nortel are held
from time to time, any legal process before, or any order of, the U.S. Bankruptcy Court or any
other court of competent jurisdiction, the applicable rules or regulations of any securities
exchange or similar self-regulatory authority or applicable securities Laws; provided,howeve r,
that to the extent legally permissible and reasonably practicable, if the relevant Party believes in
its reasonable judgment that such legally required disclosure includes confidential information of
any other Party hereunder, the disclosing Party shall provide the other Parties with prompt notice
of such event so that, where possible, the affected Parties may seek a protective order or other
appropriate remedy, and the relevant Parties shall cooperate in taking steps to resist or narrow the
scope of such request or legal process (at the expense of the Party requesting such action). In the
event that such protective order or other remedy is not obtained and any Party or its
representatives are advised by legal counsel that it is compelled by Law, regulation or legal,
regulatory or judicial process or the rules of a stock exchange or similar self-regulatory authority
to disclose any information described in the foregoing sentence, such Party or its representatives,
as the case may be, (i) may without liability hereunder furnish that portion (and only that
portion) of such information which, based on the advice of legal counsel to such Party or its
representative, as the case may be, such Party or its representative is legally required to disclose
and (ii) will use commercially reasonable efforts to have confidential treatment accorded any
such information so furnished.

SECTION 5.12. Certain Payments or Instruments Received from Third
Parties. To the extent that, after the Closing Date, (a) the Purchaser receives any payment or

instrument that is for the account of a Seller according to the terms of any Transaction
Document, the Purchaser shall promptly deliver such amount or instrument to the relevant Seller,
and (b) any of the Sellers receives any payment or instrument that is for the account of the
Purchaser according to the terms of any Transaction Document, such Seller shall promptly
deliver such amount or instrument to the Purchaser. All amounts due and payable under this
Section 5.12 shall be due and payable by the applicable Party in immediately available funds, by
wire transfer to the account designated in writing by the relevant Party. Notwithstanding the
foregoing, each Party hereby undertakes to use reasonable best efforts to direct or forward all
bills, invoices or like instruments to the appropriate Party.

SECTION 5.13. License to Transferred Patents, Jointly Owned Patents,
Specified UK Patents and Licensed Residual Patents: Termination of Intercompany

Arrangements.

(a) Concurrently with the Closing, (i) the Purchaser shall grant the Sellers a
license under the Transferred Patents, the Purchased Specified UK and other Patents acquired
pursuant to this Agreement in connection with (x) the disposal of Inventory and (y) contracts that

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relate to wind-down operations of the Sellers and their Affiliates (such contracts being

(A) existing contracts for Nortel Products or Nortel Services between one or more Sellers or
Affiliates of the Sellers and a Third Party, that have been retained by the Sellers or their
Affiliates in connection with the sale of a Divested Business (the “Existing Contracts”),

(B) contracts entered into for performance of obligations under the Existing Contracts for
customers or end users, or (C) contracts that are ancillary to Existing Contracts, including work
orders, statements of work, purchase orders or contracts implementing phases of Existing
Contracts, and are for provision of Nortel Products and/or Nortel Services to Persons who are
customers or end users of Sellers or their Affiliates as of the date hereof (such contracts specified
in this clause (y), the “Retained Contracts”); for avoidance of doubt, Retained Contracts do not
include licenses granted pursuant to Intercompany Contracts), and (ii) the Sellers shall grant the
Purchaser and its Affiliates a license under the Licensed Residual Patents, the Jointly Owned
Patents, the Specified UK Patents that are not Purchased Specified UK Patents and Undisclosed
Patent Interests, in each case on the terms described in Exhibit L hereto (the “Closing Date
License Agreement”).

(b) Effective as of the Closing, the Sellers shall terminate all license rights
granted under the Master R&D Agreement to the extent such license rights are under any of the
Transferred Patents, Specified UK Patents or Undisclosed Patent Interests; in each case, subject
to the purchase thereof by (or, pursuant to Section 2.1.8, the grant of an exclusive license (with
the right to sublicense) thereto to) the Purchaser pursuant to this Agreement. Effective as of the
Closing, the Sellers shall also terminate all license rights granted under any other Intercompany
Contracts (x) exclusively among Sellers or (y) pursuant to which any Seller is a licensee, to the
extent such license rights are under any of the Transferred Patents, Specified UK Patents or
Undisclosed Patent Interests; in each case, subject to the purchase thereof by (or, pursuant to
Section 2.1.8, the grant of an exclusive license (with the right to sublicense) thereto to) the
Purchaser pursuant to this Agreement. Promptly following the Closing, each Seller shall request
that any non-Seller Affiliate of such Seller that is a licensee under any other Intercompany
Contract terminate its license rights pursuant to such Contract under any of the Transferred
Patents, Specified UK Patents and Undisclosed Patent Interests (in each case, subject to the
purchase thereof by, or, pursuant to Section 2.1.8, the grant of an exclusive license (with the
right to sublicense) thereto to, the Purchaser pursuant to this Agreement) in exchange for a
sublicense under the license rights granted to the Sellers and their Affiliates pursuant to the
Closing Date License Agreement and shall keep the Purchaser reasonably informed of the
progress of such requests and the responses of such Affiliates. From and after Closing there
shall be no future manufacture, development, sale, supply or other distribution, or servicing of
any products under the Transferred Patents or Specified UK Patents by, for or on behalf of
Sellers other than to the extent such activities would be permitted after the Closing Date pursuant
to the terms of the Closing Date License Agreement. From and after the Closing, neither the
Sellers nor any Person acting on behalf of any Seller shall distribute any products, directly or, for
the purpose of circumventing this Section 5.13(b) or the Closing Date License Agreement,
indirectly, to any Affiliates of any Seller that have not complied with the foregoing request and
agreed to receive a sublicense under the license rights granted to the Sellers and their Affiliates
under the Closing Date License Agreement, except to the extent it is a Nortel Product required
pursuant to the terms of any Intercompany Contract then in effect, provided that (x) neither the
Sellers nor any Person acting on behalf of any Seller shall distribute to any Affiliate in any
calendar year more than two times the aggregate number of units of Nortel Products (pertaining

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to a historical line of business of the Sellers (e.g., CDMA, GSM, Enterprise)) distributed by or
on behalf of the Sellers to such Affiliate during the last six months of calendar year 2010; and
(y) the Sellers and any Person acting on behalf of any Seller shall immediately cease distributing
any products to such Affiliate at such time, and shall not distribute any products to such Affiliate
from and after such time, as such Affiliate experiences a Change of Control.

SECTION 5.14. Use of Trademarks. Nothing in this Agreement grants to
the Purchaser the right to use the name “Nortel” or any Trademarks owned by the Sellers or any
of their Affiliates or any other mark employing the word “Nortel” or any confusingly similar
Trademarks to any of the foregoing.

SECTION 5.15. Certain Assets. To the extent that any Transferred Patent,
Jointly Owned Patent or Specified UK Patent that is a Listed Patent, Listed Jointly Owned Patent
or Specified Listed UK Patent, as applicable, any invention or improvement claimed or
disclosed therein or any Patent Related Documentation relating to any of the foregoing is,
notwithstanding the statement set forth at Annex I(n), owned by any Affiliate of the Sellers that
is not, itself, a Seller, the Sellers shall cause (or, in the case of any other property that would be a
Transferred Patent or Specified UK Patent if it were owned by a Seller, or any other Patent that
would be a Jointly Owned Patent if any rights therein were owned by a Seller, and any invention
or improvement claimed or disclosed therein or any Patent Related Documentation relating
thereto, shall use their best efforts to cause) such Affiliate to transfer all of its right, title and
interest in such asset to an NA Seller as soon as reasonably practicable and in any event prior to
the Closing, and (a) in the case of property that would be Transferred Patents or Specified UK
Patents if they were instead owned by a Seller, such assets shall be “Transferred Patents” or
“Specified UK Patents” for all purposes hereof and (b) in the case of property that would be
Jointly Owned Patents if any rights therein were owned by a Seller, such assets shall be “Jointly
Owned Patents” subject to the Closing Date License Agreement for all purposes hereof; it being
understood that (x) in the case of a Specified UK Patent or Patent Related Documentation
relating thereto, the foregoing obligation shall be solely to the extent permitted by applicable
Law, and (y) in the case of a Jointly Owned Patent or Patent Related Documentation relating
thereto, the foregoing obligation shall be deemed satisfied by obtaining for the Purchaser the
license rights granted thereunder in the Closing Date License Agreement.

SECTION 5.16. Access to Systems. From and after the later of (x) the date
upon which the U.S. Sale Order is entered and (y) the date upon which the Canadian Approval
and Vesting Order is entered and until the Closing, the Sellers shall reasonably cooperate with
the Purchaser to provide the Purchaser access to the Patent Databases, solely for the purposes of
facilitating the transfer, upon and following the Closing, of such information residing in the
Patent Databases from the Sellers to the Purchaser and integration of such information into the
Purchaser’s patent systems; provided that any such access shall only be granted to the extent the
Purchaser has obtained, at its cost and expense, any license rights necessary for such access.
From and after the Closing, at the Purchaser’s request, the Sellers shall reasonably cooperate
with the Purchaser to provide the Purchaser access to the Patent Databases, provided that such
access shall be at the Purchaser’s cost and expense and that the Purchaser has obtained, at its cost
expense, any license rights necessary for such access.

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SECTION 5.17. Post-Closing Suits.

(a) Each of the Sellers hereby covenants that, from and after the Closing Date,
it will not, without the written consent of the Purchaser (acting in its sole discretion), sue or
otherwise participate in any Action against any party to any of the Transferred Licenses or any
other licenses granted under the Transferred Patents, Jointly Owned Patents or Purchased
Specified UK Patents based upon any claim under or related to any such license, including with
respect to nonpayment of unpaid past, present or future income and royalties relating to any such
license or past, present and future damages thereunder.

(b) Each of the Sellers hereby covenants that, from and after the Closing Date,
it will not, without the written consent of the Purchaser (acting in its sole discretion), (x) waive,
release, assign, settle, maintain or compromise any Action relating to the Assets to the extent that
such waiver, release, assignment, settlement, maintenance or compromise imposes any
obligation, whether contingent or realized, upon the Purchaser or any of its Affiliates or the
Assets or materially affects any Seller’s title to or the value of any Transferred Patent or
Specified UK Patent or Jointly Owned Patent or (y) voluntarily take or voluntarily cooperate in
taking any position that is not consistent with the statement in Annex I(c).

SECTION 5.18. Production of Documents. In the event that at any time
following the Closing Date, any Seller discovers or comes into possession or control of any
document that, if such Seller had known about, controlled or possessed such document on the
Closing Date would have been required to be delivered to the Purchaser pursuant to the terms
hereof, then such Seller shall (or, if such Seller does not have possession or control of such
document, shall use its best efforts to) promptly deliver such document to the Purchaser.

SECTION 5.19. Option to Purchase Undisclosed Patent Interests. In the
event that any of the Sellers or any Affiliate of any of the Sellers discovers that it owns (i) any
right, title or interest in any Patents owned by the Sellers or their Affiliates that are not
Transferred Patents, Jointly Owned Patents, Specified UK Patents or Excluded Patents, (ii) any
right, title or interest in any inventions, other than the Listed Inventions, disclosed in the
invention disclosures owned by any of the Sellers or their Affiliates, but only to the extent such
invention disclosures (x) do not relate to a patent application filed anywhere in the world and
(y) are dated less than three (3) years before the Closing Date, (iii) an exclusive license to all or
substantially all of the rights under any Patent that is not a Transferred Patent, Jointly Owned
Patent, Specified UK Patent or Excluded Patent, or (iv) an option to receive or purchase, or any
reversionary interest in, any of the foregoing (any individual asset described in clauses
(i) through (iv), an “Undisclosed Patent Interest”), then:

(a) In the event that one or more non-Seller Affiliates of any Seller own an
Undisclosed Patent Interest, the Sellers shall use their best efforts to cause such Affiliate(s) to
transfer such Undisclosed Patent Interest to a Seller promptly.

(b) Upon identification or receipt by any Seller of an Undisclosed Patent
Interest, the relevant Seller shall provide reasonably prompt written notice describing such
Undisclosed Patent Interest to the Purchaser (an “Option Trigger Notice”) (it being understood
that (i) in the event that an Undisclosed Patent Interest is identified or received by a Seller

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between the date hereof and the later of (x) the date upon which the U.S. Sale Order is entered
and (y) the date upon which the Canadian Approval and Vesting Order is granted, such Seller
shall deliver an Option Trigger Notice to the Purchaser promptly after the later of (x) the date
upon which the U.S. Sale Order is entered and (y) the date upon which the Canadian Approval
and Vesting Order is granted and (ii) each Option Trigger Notice shall relate to only one
Undisclosed Patent Interest). For a period of thirty (30) calendar days following the delivery of
such notice to the Purchaser, the Purchaser shall have the option (exercisable by delivery of
written notice thereof to the relevant Seller) to purchase, subject to any Liens existing thereon
not discharged by the U.S. Sale Order or Canadian Approval and Vesting Order, the
undertakings specified in Sections 5.20 and 5.21, and any licenses that remain in force after
Closing granted thereunder prior to the date such Undisclosed Patent Interest was discovered by
or delivered to such Seller (it being understood that no Seller shall grant any licenses under or
any Liens on any such Undisclosed Patent Interest after the date of discovery or delivery and
during the Purchaser’s consideration period described above), such Seller’s right, title and
interest in and to the Undisclosed Patent Interest from such Seller for a cash purchase price per
Undisclosed Patent Interest of Fifty Thousand Dollars ($50,000) (the “Exercise Price”).

(c) From and after the date when any Seller discovers that it owns an
Undisclosed Patent Interest until the expiration of the 30-day option period specified in
Section 5,19(b), no Seller may directly or indirectly sell, transfer, assign, convey, license or
sublicense such Undisclosed Patent Interest to any Third Party, including by operation of law, in
any transaction, series of related transactions or otherwise, other than as would be permitted by
Section 5.9(c)(iii) if such Undisclosed Patent Interest were a Transferred Patent, and any
attempted sale, transfer, assignment, conveyance, license or sublicense not expressly permitted
by this Section 5.19 shall be void ab initio and of no force or legal effect.

(d) The Sellers agree that, prior to the ultimate winding up or dissolution of
any of them, the Primary Seller Parties will provide written notice to the Purchaser of such
anticipated winding up or dissolution and provide the Purchaser with the option, exercisable by
proper delivery of written notice to the Primary Seller Parties within a period of thirty (30)
calendar days after delivery of the Primary Seller Parties’ notice, to purchase on a “quitclaim”
basis (and, for the avoidance of doubt, subject to any Liens existing thereon not discharged by
the U.S. Sale Order or Canadian Approval and Vesting Order, the undertakings specified in
Sections 5.20 and 5.21, and any licenses granted thereunder prior to the date of such purchase
that remain in force after Closing, it being understood that no Seller shall voluntarily take any
action to grant any licenses under or place any Liens on any such Undisclosed Patent Interest), at
an aggregate price of $1.00, all of each Seller’s right, title and interest in and to all remaining
Undisclosed Patent Interests, whether or not theretofore identified, not previously offered for sale
to the Purchaser pursuant to this Section 5.19.

(e) The settlement of each purchase and sale of Undisclosed Patent Interests
pursuant to this Section 5.19 shall occur at the offices of Cleary Gottlieb Steen & Hamilton LLP,
New York (or such other place as the parties may mutually agree to in writing), on a Business
Day (to be specified by the Purchaser in writing at least five (5) Business Days prior thereto)
occurring within thirty (30) days after the exercise by the Purchaser of its option under
Section 5.19(b). At each settlement, (i) the relevant Sellers shall deliver duly executed
instruments of conveyance and assignment reasonably evidencing the assignment to the

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Purchaser of their right, title and interest in and to the relevant Undisclosed Patent Interest
(together with all assets that would have constituted “Assets” if such Undisclosed Patent Interest
had been a Listed Patent), (ii) the Purchaser shall deliver to the relevant Sellers the Exercise
Price for each Undisclosed Patent Interest by wire transfer of immediately available funds to an
account designated by the relevant Sellers at least five (5) Business Days prior to the settlement
date.

(f) The Parties acknowledge and agree that if the Purchaser does not elect to
purchase any Undisclosed Patent Interest within the applicable 30-day option period after
delivery of notice thereof pursuant to Section 5.19(b), then the Sellers shall have no further
obligation whatsoever to the Purchaser with respect to such Undisclosed Patent Interest, and the
Sellers shall be free to sell, license or otherwise dispose of such Undisclosed Patent Interest in
their sole discretion.

(g) | Notwithstanding anything herein to the contrary, the items listed on
Section A.I(r) of the Sellers Disclosure Schedules shall be treated as “Undisclosed Patent
Interests” for purposes of this Section 5.19; provided,howeve r, that (i) Seller shall deliver an
Option Trigger Notice to the Purchaser promptly after the later of (x) the date upon which the
U.S. Sale Order is entered and (y) the date upon which the Canadian Approval and Vesting
Order is granted, and (ii) the Exercise Price for such items listed on Section A.I(r) of the Sellers
Disclosure Schedules shall be $0.00.

SECTION 5.20. Certain Obligations. As of the Closing, the Purchaser
agrees to (a) notify in writing (in the same level of detail as provided in Section 5.20 of the
Sellers Disclosure Schedule) any subsequent purchaser of any of the Transferred Patents or
Purchased Specified UK Patents of any promises, declarations and commitments listed in
Section 5.20 of the Sellers Disclosure Schedule concerning such Patents, to the extent such
promises, declarations and commitments (i) have been granted, made or committed to standard-
setting bodies and (ii) are enforceable against the Sellers, and to (b) bind such subsequent
purchasers to notice terms substantially the same as those set forth in this Section 5.20.

SECTION 5.21. Acknowledgement of Prior Obligations. The Purchaser
acknowledges that the sale and assignment of the Transferred Patents and Purchased Specified
UK Patents is subject to the obligations of certain Sellers set forth in Section 5.21 of the Sellers
Disclosure Schedule with respect to the agreements referenced therein to the extent applicable to
such Patents and to the extent such obligations and agreements are enforceable against the
Sellers.

SECTION 5.22. Disposition of Jointly Owned Patents.

(a) From and after the Closing, (i) the Sellers may not sell, transfer, assign,
license or convey any portion of any Seller’s interest in any Jointly Owned Patent except upon
written consent of the Purchaser in its sole discretion or as permitted by the Closing Date License
Agreement and (ii) as soon as practicable after written request by the Purchaser to the Primary
Seller Parties, made at the Purchaser’s sole discretion, the Sellers shall transfer all of their
respective interest in one or more specified Jointly Owned Patents to a Person of the Purchaser’s
choosing (which, for the avoidance of doubt, may be the Purchaser or an Affiliate of the

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Purchaser or one or more Third Parties), to the extent permitted by and subject to applicable Law
and to any Contracts governing a Seller’s joint ownership of such Jointly Owned Patent, and
subject to any Liens existing thereon not discharged by the U.S. Sale Order or Canadian
Approval and Vesting Order, the undertakings specified in Sections 5.20 and 5.21, and any
licenses granted thereunder prior to the date of such transfer (it being understood that from and
after the Closing, no Seller shall voluntarily take any action to place any Liens on any Jointly
Owned Patents).

(b) —_No Seller shall reject, repudiate or terminate any Contract governing such
Seller’s joint ownership of a Jointly Owned Patent, unless such Seller, prior to the date upon
which such Seller consummates its plan of reorganization, liquidation or arrangement in the
Bankruptcy Proceedings, provides the Purchaser at least 10 Business Days’ advance written
notice of such rejection, repudiation or termination (which notice shall specify the Contracts to
be rejected and the Jointly Owned Patents governed by such Contracts and furnishing, to the
extent the Sellers are not prohibited from doing so by such Contracts or by applicable Law, a true
and complete copy of such Contracts), provided, that, in any event, no Seller shall reject,
repudiate or terminate any Contract governing such Seller’s joint ownership of a Jointly Owned
Patent prior to the last commercially reasonable date on which it can do so in connection with
such Seller’s consummation of its plan of reorganization, liquidation or arrangement in the
Bankruptcy Proceedings.

SECTION 5.23. Purchase of Specified UK Patents. The Sellers hereby
covenant, to the extent permitted by applicable Law, from and after the date hereof, to cooperate
with the Purchaser in conducting further diligence with respect to the Specified UK Patents and
facilitating the transfer of the Specified UK Patents to the Purchaser on the Closing Date. The
Parties hereby agree that at any time prior to the Closing, the Purchaser may elect, in its sole
discretion, to exclude any or all of the Specified UK Patents from the “Assets” and to not take an
assignment of such Specified UK Patents (in which case the Patent Related Documentation
relating solely thereto shall also be excluded), it being understood that any such election shall not
result in a decrease in purchase price.

SECTION 5.24. Maintenance of Books and Records. After the Closing, the
Sellers shall preserve, until the first (1st) anniversary of the Closing Date (or such longer period
as may be required under applicable Law), all pre-Closing Date records to the extent relating to
the Assets possessed or to be possessed by such Person. After the Closing Date and until the
first (1st) anniversary of the Closing Date (or such longer period as may be required under
applicable Law), upon any reasonable request from the Purchaser, the relevant Seller shall,
and/or shall cause the Person holding such records to, (a) provide to the Purchaser or its
representatives reasonable access to such records during normal business hours and (b) provide
or permit the Purchaser or its respective representatives to make copies of such records, in each
case subject to reimbursement of the Sellers’ reasonable and actual out-of-pocket expenses in
connection with responding to such requests of the Purchaser, including provision of access to,
and segregation and duplication of, records; provided, however, that nothing herein shall require
any Seller to disclose any information to the Purchaser or its representatives if such disclosure
(i) would jeopardize any attorney-client or other legal privilege or contravene any applicable
Law, fiduciary duty or agreement (it being understood that the Sellers shall cooperate in any

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reasonable efforts and requests that would enable otherwise required disclosure to the Purchaser
or its representatives to occur without so jeopardizing privilege or contravening such Law, duty
or agreement), (ii) would require the Sellers to disclose their Tax records, or (iii) involves
Excluded Assets. The Purchaser acknowledges that the Sellers are in the process of ceasing
active operations, and such reasonable access and costs may include the delay and expense of
retrieving documents from inactive storage. Such records may be sought under this Section 5.24
for any reasonable purpose, including to the extent reasonably required in connection with
accounting, litigation, federal securities disclosure or other similar needs of the Purchaser or its
representatives (other than, with respect to documents that do not describe the conception or
reduction to practice of any of the Transferred Patents, Jointly Owned Patents, Specified UK
Patents or Undisclosed Patent Interests, claims between the Sellers and the Purchaser or any of
their respective Subsidiaries under this Agreement or any Transaction Document).
Notwithstanding the foregoing but subject to Section 6.5, (1) any and all such records may be
destroyed by the Sellers if the Sellers send to the Purchaser written notice of their intent to
destroy such records, specifying in reasonable detail the nature of the records to be destroyed;
such records may then be destroyed after the sixtieth (60th) day following such notice unless the
Purchaser notifies the destroying party that the Purchaser desires to obtain possession of such
records to the extent it is entitled thereto under this Section 5.24, in which event the Sellers shall
transfer or cause to be transferred the records to the Purchaser and the Purchaser shall pay all
reasonable and actual out-of-pocket expenses of the Sellers in connection therewith, including
costs associated with the segregation of such records; and (2) the Sellers shall not be required to
provide the Purchaser or its representatives access to, or copies of, any Tax records or audited
financial statements covering any pre-Closing period. Nothing in this Section 5.24 shall limit or
prejudice any of the Purchaser’s rights at law or in equity relating to discovery, in the context of
a dispute between the Purchaser and a Seller or otherwise.

SECTION 5.25. License Power of Attorney.

(a) With respect to the Commercial Licenses and, as such terms are defined in
the Form of U.S. Sale Order set forth in Exhibit F and the form of the Canadian Approval and
Vesting Order set forth in Exhibit G, the TSAs, IPLAs, Intercompany Licenses and the GDNT
License, the Purchaser may exercise its rights under the License Power of Attorney only:

(i) with respect to any such Contract, after a Seller that is a party to
such Contract dissolves or ceases to exist, or

(ii) | with respect to any and all such Contracts, at any time after (A) a
Seller has acted or omitted to act, as applicable, in contravention of its obligations
described in Paragraph 28(b) through (g) of the Form of U.S. Sale Order set forth
in Exhibit F and paragraph 14(b) through (g) of the Form of Canadian Approval
and Vesting Order set forth in Exhibit G; (B) the Purchaser has subsequently
provided such Seller with a notice entitled “NOTICE OF BREACH AND
INTENDED USE OF LICENSE POWER OF ATTORNEY,” alleging in
reasonable detail the occurrence of such contravening action or omission
described in the foregoing clause (A) and explaining why the Purchaser believes
such contravening action or omission constitutes a contravention of such
provisions, and (C) ten (10) Business Days have elapsed since the Purchaser

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provided such notice to such Seller pursuant to the foregoing clause (B), during
which time (x) the Purchaser did not subsequently agree that such act or omission
was not in contravention of the Sellers’ obligations described in (A) OR (y) the
Sellers did not obtain from a court of competent jurisdiction declaratory relief
stating that such Seller has neither acted nor omitted to act in contravention of
such obligations.

(b) — Following the first valid exercise of the License Power of Attorney
described in Section 5.25(a), the Purchaser shall provide the Sellers with written notice at least
five (5) Business Days in advance of its exercise of its rights under the License Power of
Attorney, unless such provision of such notice five (5) Business Days in advance is not
reasonably practicable under the circumstances, in which case the Purchaser shall give written
notice of its exercise of its rights under the License Power of Attorney as early as is reasonably
practicable under the circumstances.

(c) With respect to any exercise of the License Power of Attorney with
respect to the obligations described in Paragraphs 28(a) and (h)(y) of the form of U.S. Sale Order
set forth in Exhibit F and Paragraphs 14(a) and (h)(y) of the form of Canadian Approval and
Vesting Order set forth in Exhibit G, the Purchaser shall provide the Sellers with written notice
at least five (5) Business Days in advance of its exercise of its rights under the License Power of
Attorney, unless such provision of such notice five (5) Business Days in advance is not
reasonably practicable under the circumstances, in which case the Purchaser shall give written
notice of its exercise of its rights under the License Power of Attorney as early as is reasonably
practicable under the circumstances.

SECTION 5.26. Exclusivity. No Seller shall (and each Seller shall cause its
directors, officers, employees, consultants, representatives and other advisors not to and use its
best efforts to cause its Affiliates not to), directly or indirectly, at any time prior to the later of
the entry of the U.S. Sale Order by the U.S. Bankruptcy Court and the granting of the Canadian
Approval and Vesting Order by the Canadian Court, (i) initiate, solicit or knowingly encourage
(including by way of furnishing information or assistance), or knowingly induce, the submission
or announcement of any proposal or offer for an Alternative Transaction, or (ii) enter into any
letter of intent, memorandum of understanding, asset sale agreement or other agreement,
arrangement or understanding relating to any Alternative Transaction.

SECTION 5.27. Optioned Licenses.

(a) At any time after the date hereof but prior to the Closing Date, Purchaser
shall have the right, by delivery of written notice to the Sellers, to require the Sellers to, and each
Seller hereby agrees that it shall, concurrently with the Closing but immediately prior to the sale,
conveyance, transfer, assignment and delivery to the Purchaser of the Assets, enter into one or
more licenses with the Purchaser and/or one or more of the Purchaser’s limited partners
(collectively, the “Optioned Licenses”) in the form or forms proposed by the Purchaser and
acceptable to the Sellers (it being understood that the provisions in the Optioned Licenses
relating to the field of use, scope of licensed products and services, releases by parties other than
the Sellers, termination for breach,and assignment or change of control shall be determined by
the Purchaser and shall not be subject to the Sellers’ acceptance), in exchange for an aggregate

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amount of upfront license fees not to exceed $1,000,000,000 in respect of all such Optioned
Licenses (such aggregate amount, the “Optioned Licenses Fees”). If Purchaser requires the
Sellers to enter into Optioned Licenses, Purchaser shall pay or cause to be paid to the
Distribution Agent, on the Closing Date in immediately available funds, the Optioned Licenses
Fees, and the Purchase Price otherwise payable by Purchaser pursuant to Section 2.2 shall be
reduced by the amount of the Optioned Licenses Fees.

(b) (i) Purchaser shall defend, indemnify and hold harmless each of the
Seller Licensing Indemnitees from and against any and all Damages suffered by any Seller
Licensing Indemnitee that arise out of, or result from or are caused by the Sellers’ execution,
delivery and performance of the Optioned Licenses other than with respect to Taxes, which shall
be governed by Section 5.27(b)(ii).

(ii) | (A) Purchaser shall pay on Closing to the Canadian Sellers Fifteen Million
Dollars ($15,000,000) in respect of the utilization of tax attributes of the Canadian Sellers as a
result of the receipt of the Optioned Licenses Fees;

(B) _ From the Closing Date until the expiration of the applicable statutes of
limitation (or reassessment periods), Purchaser shall (x) indemnify and hold the Canadian Sellers
harmless on an after-Tax basis from and against any Incremental Taxes paid or payable by a
Canadian Seller pursuant to applicable Law; (y) indemnify and hold the U.S. Sellers harmless on
an after-Tax basis from and against any Incremental Taxes paid or payable by a U.S. Seller
pursuant to applicable Law; and (z) indemnify and hold the EMEA Sellers, Joint Administrators
and the French Liquidator harmless on an after-Tax basis from and against any Incremental
Taxes paid or payable by an EMEA Seller pursuant to applicable Law;

(C) (x) the Purchaser will pay the Optioned License Fees to the Sellers, Joint
Administrators and the French Liquidator free and clear of and without deduction or withholding
for withholding Taxes or any other amounts; provided that if the Purchaser shall be required
under applicable Law to deduct or withhold any amount from the Optioned Licenses Fees, then
(i) the amount payable shall be increased as necessary so that, after making all required
deductions or withholdings (including deductions or withholdings applicable to additional
amounts payable), the Sellers, Joint Administrators and the French Liquidator receive an amount
equal to the sum they would have received had no such deduction or withholding been made, (11)
the Purchaser shall make such deduction or withholding, and (iii) the Purchaser shall pay to the
relevant Tax Authority in accordance with applicable Law the full amount deducted or withheld;
provided, further, that Purchaser shall have no obligation to pay additional amounts pursuant to
clause (i) of the preceding proviso to the extent that the withholding Taxes are attributable to a
Seller’s failure to comply with the requirements of Section 5.27(b)(ii)(C)(y) unless such failure is
due to the Purchaser’s failure to cooperate fully with any Seller for the purposes of obtaining any
exemption or reduction referred to in Section 5.27(b)(ii)(C)(y). The Purchaser shall promptly
furnish the Sellers, Joint Administrators and the French Liquidator with such evidence as may be
required by the applicable Tax Authorities to establish that any such Tax has been paid, and shall
indemnify and hold harmless the Sellers,Joint Ad ministrators and French Liquidator on an after-
Tax basis from any liability for penalties or interest due to the payor’s failure to timely withhold
and remit amounts in respect of Taxes to the applicable Tax Authority;

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(y) If the Purchaser determines that a Seller is entitled to an exemption
from or reduction of withholding Tax under the law of any jurisdiction in which Purchaser or its
limited partners were formed or are located, or under any treaty to which such jurisdiction is a
party with respect to the Optioned Licenses Fees, such Seller shall deliver at the time or times
prescribed by applicable Law or reasonably requested by Purchaser, such properly completed
and executed documentation prescribed by applicable Law and as reasonably requested by the
Purchaser and provided that the Purchaser cooperates with any such Seller to the extent
necessary for obtaining any such exemption or reduction as will permit such payments to be
made without withholding or at a reduced rate, provided that such Seller is legally entitled to
complete, execute and deliver such documentation; and

(D) If any Seller becomes aware of any circumstances that could cause
Purchaser to be required to indemnify any Seller,the Joint Administrators or the French
Liquidator pursuant to Section 5.27(b)(ii)(B), such Seller shall promptly provide written notice to
Purchaser. The Sellers shall, at the request of Purchaser and at Purchaser's expense, use
commercially reasonable efforts (taking into account available resources) to object to, challenge,
or appeal any assessment, audit, or administrative or judicial proceeding that could result in the
denial of or limitation on the applicability, availability, or amount of any losses, undeducted
expenses, Tax credits or any other Tax attributes of the Sellers (a “Tax Attribute Contest”). In
furtherance of the foregoing, the Sellers shall (i) provide Purchaser with a timely account of each
phase of such Tax Attribute Contest, (11) provide Purchaser with copies of all written materials
prepared or furnished in connection with such Tax Attribute Contest and (iii) permit Purchaser to
participate in any Tax Attribute Contest to the extent permitted by applicable Law.
Notwithstanding the foregoing, the Sellers shall not be required to pursue any Tax Attribute
Contest or permit Purchaser to participate in or control any Tax Attribute Contest to the extent
that they determine, in their reasonable discretion, that doing so would be administratively
burdensome in the circumstances or would materially delay or impede the CCAA Cases, Chapter
11 Cases or EMEA Cases.

(iii)For thea = voidance of doubt, subject to any provisions in this Agreement to
the contrary, each party may report the transactions on its tax returns in its sole discretion.

SECTION 5.28. Transferring Employees.

(a) Purchaser shall cause one of its limited partners to, and the relevant Sellers
named therein shall, enter into that certain Employee Transfer Side Agreement as set forth on
Exhibit H.

(b) Other than as provided for in 2.1.3(d),5.28(c ) or the Employee Transfer
Side Agreement, the Sellers shall retain, and none of the Purchaser or its limited Partners shall
assume or be deemed to have assumed, any Liabilities of the Sellers or their Affiliates relating to
Employees (the “Excluded Employee Liabilities”). The Excluded Employee Liabilities shall
include, but not be limited to, the following:

(i) the Sellers’ or any of their Affiliates’ obligations to contribute to,
make payments with respect to or provide benefits under any employee benefit

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plan or arrangement of any Seller, any obligation to provide continuation
coverage pursuant to COBRA under any employee benefit plan or arrangement of
any Seller that is a “group health plan” (as defined in Section 5000(b)(1) of the
Code) to the Transferring Employees and/or their qualified beneficiaries with
respect to a COBRA qualifying event that occurs prior to the Closing; and

(ii) | any Liabilities relating to the Employees or any former employees
employed by the Sellers (with respect only to such employees’ employment with
the Sellers), including payments or entitlements that Sellers or any of their
Affiliates may owe or have promised to pay to any current or former Employees,
including wages, other remuneration, holiday, bonus, severance pay (statutory or
otherwise), commission, post-employment medical or life obligations, pension
contributions or benefits, Taxes, ERISA Affiliate Liability, any obligation,
liability or expense relating to any employment agreement or contract, the
employment practices of Sellers or any of their Affiliates prior to the Closing
Date and any other liability, payment or obligations related to current or former
Employees, including any Liabilities relating to actions of the Sellers arising on or
prior to the Closing Date, any workers compensation, labor, social welfare or
similar Law, if any, including any such Liabilities arising out of or resulting from
the Closing and/or the consummation of the transactions contemplated by this
Agreement, other than with respect to liabilities incurred after the Closing Date by
Transferring Employees who are terminated by one of Purchaser’s limited
partners after the Closing Date.

(c) The Purchaser shall bear severance costs incurred by the Sellers in
connection with the termination of employment by Sellers of the Employees (other than the
Transferring Employees (as defined in the Employee Transfer Side Agreement); provided,
however, that the amount of such severance costs to be paid by the Purchaser shall not exceed
$2,600,000.

(d) The terms and provisions of this Section 5.28 are for the sole benefit of the
Sellers and the Purchaser. Nothing contained herein, express or implied (i) shall be construed to
establish, amend or modify any employee benefit plans, programs, agreements or arrangements
of any of the Sellers or the Purchaser, (ii) shall alter or limit the ability of the Purchaser or any of
its limited partners to amend, modify or terminate any employee benefit plans, programs,
agreements or arrangements after the Closing Date, (iii) is intended to confer or shall confer
upon any current or former employee any right to employment or constitute or create an
employment agreement with any Transferring Employees or (iv) is intended to confer or shall
confer upon any individual or any legal representative of any individual any right as a third party
beneficiary of this Agreement.

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ARTICLE VI

TAX MATTERS

SECTION 6.1. Transfer Taxes.

(a) The Parties agree that the Purchase Price is exclusive of any Transfer
Taxes. The Purchaser shall promptly pay directly to the appropriate Tax Authority all applicable
Transfer Taxes that may be imposed upon or payable or collectible or incurred in connection
with this Agreement or the transactions contemplated herein, or that may be imposed upon or
payable or collectible or incurred in connection with the execution of any other Transaction
Document; provided, that if any such Transfer Taxes are required to be collected, remitted or
paid by a Seller, the Joint Administrators, or the French Liquidator or any Subsidiary, Affiliate,
representative or agent thereof, such Transfer Taxes shall be paid by the Purchaser to such Seller,
Joint Administrators, French Liquidator, Subsidiary, Affiliate or agent, as applicable, at the
Closing or thereafter, as requested of or by the applicable Seller, Joint Administrators or French
Liquidator. Upon request from a Seller, the Joint Administrators or the French Liquidator, the
Purchaser shall provide to such Seller, Joint Administrators or French Liquidator an original
receipt (or such other evidence as shall be reasonably satisfactory to such Seller, Joint
Administrator or French Liquidator) evidencing the payment of Transfer Taxes by the Purchaser
to the applicable Tax Authority under this Section 6.1. For the avoidance of doubt, the Purchaser
shall remain liable in respect of any Transfer Taxes regardless of the date that the Assets are
removed from the premises of a Seller or any Seller’s supplier. All other Closing expenses will
be paid by the Party incurring such expenses.

(b) If the Purchaser wishes to claim any exemption relating to, or a reduced
rate of, or make an election with the effect of reducing, or engage in any other transaction
designed to reduce, Transfer Taxes, in connection with this Agreement or the transactions
contemplated herein, or in connection with the execution of any other Transaction Document, the
Purchaser shall be solely responsible for ensuring that such exemption, reduction or election
applies and, in that regard, shall provide the Sellers, Joint Administrators or French Liquidator
(as applicable) prior to Closing with its permit number, GST/HST, VAT, provincial sales taxes
or other similar registration numbers and/or any appropriate certificate of exemption, election
and/or other document or evidence to support the claimed entitlement to such exemption or
reduction by the Purchaser. All parties shall make commercially reasonable efforts to cooperate
to the extent necessary to obtain any such exemption or reduction. Notwithstanding the
foregoing, any such cooperation to be provided in this Section 6.1(b) shall not include or extend
to (i) a liquidation or restructuring of a Seller or any business of a Seller, including the transfer of
any assets or Assets or liabilities or Assumed Liabilities between the Sellers or their Affiliates,
unless the Seller or the relevant Affiliate is indemnified (prior to such liquidation or
restructuring) against any cost or expense of such liquidation or restructuring to its satisfaction
(acting at all times reasonably and in good faith); (ii) any action or omission that would result in
the imposition on any Seller or any Affiliate of any Seller of any additional Tax liability or
making any additional payment to any Tax Authority or Government Entity in respect of Tax
which is an Excluded Liability, unless such Seller or Affiliate is (prior to the relevant action or
omission) indemnified against such additional Tax liability or payment; (iii) any action or
omission that would result in any material out of pocket cost or expense for any Seller or any

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Affiliate of any Seller, unless such Seller or Affiliate is (prior to the relevant action or omission),
indemnified against such cost or expense to their satisfaction (acting at all times reasonably and
in good faith) by the Purchaser; (iv) any action or omission which would cause the Sellers or any
Affiliates of the Sellers to be in contravention of any applicable Law (including Bankruptcy
Law) or published practice of a Tax Authority; (v) changing the identity or Tax residence of any
Sellers, the location of any Assets or Assumed Liabilities, the nature or extent of any Assets or
Assumed Liabilities, the Assets or Assumed Liabilities to be transferred by any particular Seller
or the structure of the transaction as an asset sale rather than the sale of any form of entity, unless
the Seller or the relevant Affiliate is indemnified (prior to such action) against any cost or
expense of such action to its satisfaction (acting at all times reasonably and in good faith); or

(vi) any reduction in the obligations of the Purchaser or rights of the Sellers.

It is agreed and acknowledged that for the purposes of this Section 6.1, “Transfer
Taxes” do not include VAT in respect of any supply (or deemed supply) of goods and services
pursuant to this Agreement, for which the provisions of Section 6.9 shall apply instead.

SECTION 6.2. Withholding Taxes. Ifthe Purchaser is required for any
reason to deduct or withhold from any payment made pursuant to this Agreement or any other
Transaction Document (other than the Optioned License Fees, which shall be governed by
Section 5.27(b)(ii)(C)), for any Tax imposed by a Tax Authority solely as a result of the identity
of the Purchaser, the residence of the Purchaser or in respect of income of the Purchaser, but not
for any other reason, and if the applicable Seller, Joint Administrators or French Liquidator after
exercising commercially reasonable efforts is unable to recover such Tax from such Tax
Authority, the payment of the Purchase Price shall be increased to an amount which, after taking
into account such deduction or withholding or Tax, will result in payment to the applicable
Seller, Joint Administrators or French Liquidator of the full amount such Seller, Joint
Administrators or French Liquidator would have received from the Purchaser had no such
deduction or withholding been made or Tax been liable. The Purchaser shall promptly furnish
the Sellers, Joint Administrators and French Liquidator with such evidence as may be required
by the applicable Tax Authorities to establish that any such Tax has been paid, and shall
indemnify and hold harmless the Sellers, Joint Administrators and French Liquidator on an after-
Tax basis from any liability for penalties or interest due to the payor’s failure to timely withhold
and remit amounts in respect of Taxes to the applicable Tax Authority. The Purchaser shall
promptly, and in any event not later than thirty (30) days prior to Closing, inform the Seller, Joint
Administrators and French Liquidator, that either (i) deductions or withholdings as referred to in
this Section 6.2 are required, or (ii) no such deductions or withholdings are required. In the
event that the Purchaser notifies that such deductions or withholdings are required, the applicable
Seller, Joint Administrators or French Liquidator shall take no action inconsistent with the
information contained in such notice unless such action is required to be taken in order to comply
with any applicable Law or Tax Authority published practice.

SECTION 6.3. Tax Characterization of Payments Under This Agreement.
The Sellers and the Purchaser agree to treat all payments made either to or for the benefit of the

other Party under this Agreement (other than any interest payments and Optioned Licenses Fees)
as adjustments to the Purchase Price for Tax purposes and that such treatment shall govern for
purposes hereof to the extent permitted under applicable Tax Law.

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SECTION 6.4. Apportionment of Taxes.

(a) Except as otherwise provided in Section 5.27 or in this Article VI, (i) the
Sellers shall and shall cause the Other Sellers, as the case may be, to bear all Taxes of any kind
relating to the Assets for all Tax periods or portions thereof ending on or before the Closing Date
and all Taxes resulting from the disposition of the Assets and the receipt of the Optioned
Licenses Fees, and (ii) the Purchaser shall bear all Taxes relating to the Assets for all Tax periods
or portions thereof beginning after the Closing Date.

(b) For purposes of this Agreement, any Taxes for a “Straddle Period” (a
Tax period that includes, but does not end on, the Closing Date) shall be apportioned between the
Sellers, on the one hand, and the Purchaser, on the other hand, based on the portion of the period
ending on and including the Closing Date and the portion of the period beginning after the
Closing Date, respectively. The amount of any Taxes based on or measured by income or
receipts related to the Assets shall be allocated between the Pre-Closing Taxable Period and the
Post-Closing Taxable Period on a closing-of-the-books (at midnight on the Closing Date) basis.
The amount of other Taxes shall be allocated between the Pre-Closing Taxable Period and the
Post-Closing Taxable Period in the following manner: (i) in the case of a Tax imposed in respect
of property (excluding, for the avoidance of doubt, any income Tax) and that applies ratably to a
Straddle Period, the amount of Tax allocable to a portion of the Straddle Period shall be the total
amount of such Tax for the period in question multiplied by a fraction, the numerator of which is
the total number of days in such portion of such Straddle Period and the denominator of which is
the total number of days in such Straddle Period, and (ii) in the case of sales, value-added and
similar transaction-based Taxes (other than Transfer Taxes allocated under Section 6.1), such
Taxes shall be allocated to the portion of the Straddle Period in which the relevant transaction
occurred.

SECTION 6.5. Records.

(a) Except as provided elsewhere in this Section 6.5, (i) after the Closing
Date, the Purchaser, on the one hand, and the Sellers, on the other hand, will make available to
the other, as reasonably requested, and to any Tax Authority, all information, records or
documents relating to liability for Taxes with respect to the Assets or the Assumed Liabilities for
all periods prior to or including the Closing Date (including Straddle Periods), and will preserve
such information, records or documents until the expiration of any applicable statute of
limitations or extensions thereof, and (ii) in the event that one party needs access to records in
the possession of a second party relating to any of the Assets or the Assumed Liabilities for
purposes of preparing Tax Returns or complying with any Tax audit request, subpoena or other
investigative demand by any Tax Authority, or for any other legitimate Tax-related purpose not
injurious to the second party, the second party will allow representatives of the other party such
access as is reasonably necessary to such records during regular business hours at the second
party’s place of business for the sole purpose of obtaining information for use as aforesaid and
will permit such other party to make extracts and copies thereof as may be reasonably necessary
or convenient. The obligation to cooperate pursuant to this Section 6.5 shall terminate at the
time the relevant applicable statute of limitations expires (giving effect to any extension thereof),
provided, that, beginning on the date that is one year following the Closing Date, the obligations

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of the Sellers under this Section 6.5(a) shall be limited to commercially reasonable efforts, taking
into account available personnel and resources.

(b) At any time within the ten (10) years immediately following the Closing,
NNL and Nortel Networks Technology Corporation (“NNTC”) may cause copies of Restricted
Technical Records to be placed into escrow with the Records Custodian, who shall hold such
Restricted Technical Records for a term ending no later than ten (10) years after the Closing Date
in accordance with an escrow agreement between the Purchaser, NNL and NNTC and the
Records Custodian, in form satisfactory to the Purchaser, NNL and NNTC. The escrow
agreement will provide for access to the copies of the Restricted Technical Records only by the
relevant Canadian Tax Authority or by Tax advisors of any purchaser (“Tax Credit Purchaser”)
relating to the scientific research and experimental development Tax credits of NNL and NNTC
under the Income Tax Act (Canada), and only if such advisors have executed an appropriate
confidentiality agreement in form satisfactory to the Purchaser, acting reasonably. The access
permitted by the escrow agreement shall be only for the limited purpose of defending any audit,
claim or action by any Canadian Tax Authority in respect of the characterization of expenditures
by NNL or NNTC as qualified expenditures on scientific research and experimental development
for purposes of the applicable provisions of the Income Tax Act (Canada) (“Qualified
Expenditures”).

(c) The Purchaser shall use commercially reasonable efforts to make available
to the relevant Taxing Authority or Tax advisors of the Tax Credit Purchaser, those former
employees of NNL or NNTC, as the case may be, with direct knowledge of the Qualified
Expenditures who are then employed by the Purchaser and whose cooperation is necessary for
the purpose of defending any audit, claim or action by any Taxing Authority of the
characterization of expenditures by NNL or NNTC, as the case may be, as Qualified
Expenditures, and provided that such advisors have executed an appropriate confidentiality
agreement satisfactory to the Purchaser.

(d) The Purchaser shall have no obligation to provide any access under
Section 6.5(c) unless NNL or NNTC (if there is no Tax Credit Purchaser in respect of the request
for access) or the Tax Credit Purchaser pays all the Purchaser’s reasonable expenses in
connection with Section 6.5(c), including a reasonable per diem rate for access to former
employees of NNL or NNTC, as the case may be (based on the total compensation of the
employee at the time access is provided).

(e) The obligations of the Sellers under Section 6.5(a) shall be subject to the
following:

(i) the parties agree and acknowledge that the Sellers shall be entitled,
prior to any disclosure or making available, to redact the relevant information,
records or documents as they hold to ensure that they show only information
relevant to the Assets or Assumed Liabilities and do not show any other
information except as required by applicable Law;

(it) the Sellers, on the one hand, and the Purchaser, on the other hand,
shall not be obliged to provide any access under Section 6.5(a) unless the

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requesting party pays all of the reasonable costs and expenses of the party
granting access, in each case incurred in connection with the granting of such
access, including a reasonable hourly rate for access to employees or agents of the
party granting access (based on the total compensation of the employee or agent
at the time that access is provided); and

(iii)the Sellers shall not bere quired, pursuant to Section 6.5(a), to
provide the Purchaser with access to or copies of any working papers or other
documentation (including court orders or other documents) prepared by, or
relating to, the Joint Administrators or the French Liquidator which the Joint
Administrators or the French Liquidator are required to maintain in confidence
under applicable Law.

SECTION 6.6. Tax Disclosure. Notwithstanding anything to the contrary
in this Agreement, except as reasonably necessary to comply with applicable securities laws and
regulations, any party may (i) consult any Tax adviser regarding the U.S. federal income Tax
treatment or Tax structure of the transactions contemplated by this Agreement, and (ii) disclose
to any and all persons, without limitation of any kind, the U.S. federal income Tax treatment and
Tax structure of the transactions contemplated hereunder and all materials of any kind (including
opinions or other Tax analyses) that are provided to the taxpayer relating to such Tax treatment
and Tax structure (but without disclosure of identifying information or any nonpublic
commercial or financial information); provided,h owever, that clause (ii) of this paragraph shall
not apply until the date of the public announcement of the execution of this Agreement and
performance of the transactions contemplated hereunder. For this purpose, “Tax structure” is
limited to any facts relevant to the U.S. federal income Tax treatment of the transactions
contemplated hereunder.

SECTION 6.7. Tax Returns.

(a) The Sellers shall be responsible for the preparation and timely filing
(taking into account any extensions received from the relevant Tax Authorities) of all Tax
Returns in respect of the Assets, for all Pre-Closing Taxable Periods (other than any Tax Returns
with respect to Transfer Taxes (“Transfer Tax Returns”) described below in Section 6.7(b)).
Such Tax Returns shall be true, correct and complete in all material respects. Except as
otherwise provided in this Agreement, all Taxes indicated as due and payable on such Tax
Returns shall be paid by (or shall be caused to be paid by) the Sellers as and when required by
Law.

(b) Each Transfer Tax Return with respect to Transfer Taxes imposed in
respect of this Agreement and the transactions contemplated hereunder or in respect of the
execution of any other Transaction Document shall be prepared by the Party that customarily has
primary responsibility for filing such Transfer Tax Return pursuant to the applicable Tax Laws.
The Sellers shall make available to the Purchaser that portion of such Transfer Tax Returns
prepared by the Sellers that is applicable to the sale and purchase transaction contemplated by
this Agreement, and, to the extent not already disclosed, such information as will enable the
Purchaser to review such portion of such Transfer Tax Returns at least ten (10) Business Days
before such Tax Returns are due to be filed, and such portion of such Transfer Tax Returns shall

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be revised before filing as reasonably requested by the Purchaser. The Purchaser shall pay to the
Sellers any amount of Transfer Taxes payable in respect of Transfer Tax Returns to be filed by
the Sellers pursuant to this Section 6.7(b) at least one (1) Business Day before such Transfer Tax
becomes due and payable in each case to the extent such Transfer Taxes are the responsibility of
the Purchaser pursuant to Section 6.1(a).

(c) The Purchaser shall be responsible for the preparation and timely filing
(taking into account any extensions received from the relevant Tax Authorities) of all Tax
Returns with respect to the Assets for all Post-Closing Taxable Periods and Straddle Periods,
provided that for the avoidance of doubt, nothing in this Section 6.7(c) shall give the Purchaser
any rights over the Tax Returns of the Sellers (a) that are required to be submitted to any relevant
Tax Authority and which relate to such Sellers’ taxable income and gains for the taxable period
during which Closing takes place, or (b) that are in respect of VAT. Such Tax Returns shall be
true, correct and complete in all material respects and shall be prepared on a basis consistent with
Tax Returns prepared for prior taxable periods unless a different treatment of any item is
required by Law or this Transaction. All Taxes indicated as due and payable on such Tax
Returns shall be paid by (or shall be caused to be paid by) the Party responsible therefor pursuant
to Section 6.4(b) hereof as and when required by Law. Nothing in this Section 6.7(c) shall
prejudice the rights of the Parties under Section 2.2.3(b).

(d) The Sellers shall be entitled to review and comment on any Tax Return
(other than a Transfer Tax Return described in Section 6.7(b)) prepared by the Purchaser for any
Straddle Period before any such Tax Return is filed. The Purchaser shall submit a draft of any
such Tax Return to the NA Sellers at least sixty (60) days before the date such Tax Return is
required to be filed with the relevant Tax Authority. The NA Sellers shall have fifteen (15) days
after the date of receipt thereof to submit to the Purchaser, in writing, the NA Sellers’ written
comments with respect to such Tax Return. The Purchaser shall notify the NA Sellers within
fifteen (15) days after receipt of such comments of (a) the extent, if any, to which the Purchaser
accepts such comments and will file such Tax Return in accordance therewith and (b) the extent,
if any, to which the Purchaser rejects such comments. To the extent the Purchaser rejects the
comments of the NA Sellers, the Purchaser and the NA Sellers promptly shall negotiate in good
faith to resolve their disagreements; if no agreement has been reached within ten (10) days, the
parties immediately shall appoint an Accounting Arbitrator to determine the correct manner for
reporting the items that are in dispute and shall provide to the Accounting Arbitrator all relevant
information. The Accounting Arbitrator shall have fifteen (15) days to submit its determination,
which shall be binding upon the Parties, and the Purchaser shall file such Tax Return in
accordance therewith. The fees and expenses of the Accounting Arbitrator shall be paid by the
Party whose position is deemed to be least correct by the Accounting Arbitrator.

(e) It is agreed and acknowledged that for the purposes of this Section 6.7,
“Transfer Taxes” do not include VAT in respect of any supply (or deemed supply) of goods and
services pursuant to this Agreement, for which the provisions of Section 6.9 shall instead apply,
except that and for the avoidance of doubt, for the purposes of Section 2.2.3(b), “Transfer Tax
Returns” shall include Tax Returns with respect to VAT.

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SECTION 6.8. Canadian Tax Election.

(a) Ifthe Purchaser is a resident of Canada for purposes of the Income Tax
Act (Canada) (and any equivalent provincial statute) and provided that a portion of the Assets
transferred pursuant to this Agreement by the NA Sellers and Other Sellers to the Purchaser is
being transferred to the Purchaser in consideration for the Purchaser assuming prepaid
obligations of the NA Sellers and Other Sellers to deliver goods or provide services in the future,
the NA Sellers and Other Sellers and the Purchaser will prepare, execute and file, on a timely
basis and using any prescribed form, a joint election under subsection 20(24) of the Income Tax
Act (Canada) (and any equivalent provincial statute) as to such assumption hereunder, and
prepare their respective Tax Returns in a manner consistent with such joint election. The elected
amount will be jointly determined by the NA Sellers and Other Sellers and the Purchaser, acting
reasonably. The NA Sellers and Other Sellers and the Purchaser will make any required
elections under corresponding provincial or territorial law and the foregoing provisions will
apply mutatis mutandis in respect thereof.

(b) To the extent the NA Sellers and Other Sellers and the Purchaser cannot
agree on the amount to be elected under subsection 20(24) of the Income Tax Act (Canada) (and ~
any equivalent provincial statute), the NA Sellers and Other Sellers and the Purchaser promptly
shall negotiate in good faith to resolve their disagreements; if no agreement has been reached
within five (5) days, the relevant parties immediately shall appoint an Accounting Arbitrator to
determine the correct amount to be elected and shall provide to the Accounting Arbitrator all
relevant information. The Accounting Arbitrator shall have thirty (30) days to submit its
determination, which shall be binding upon the Parties, and the Parties shall file all relevant
elections and Tax Returns in accordance therewith. The fees and expenses of the Accounting
Arbitrator shall be paid by the Party whose position is deemed to be least correct by the
Accounting Arbitrator.

SECTION 6.9. VAT.

(a) All sums payable by the Purchaser under this Agreement and/or in respect
of the Optioned Licenses shall be exclusive of VAT and, except to the extent Section 6.9(d)
applies, where a sum is paid by the Purchaser pursuant to this Agreement and/or in respect of the
Optioned Licenses in consideration for any supply (or deemed supply) of goods or services by
any of the EMEA Sellers the Purchaser shall, in addition to the consideration payable for such
supply, pay to the relevant EMEA Seller, on receipt of an appropriate VAT invoice, an amount
equal to the VAT (if any) determined in accordance with Section 2.2.3(b) as, or (as appropriate)
determined by the relevant EMEA Seller(s) as arising in respect of such supply together with all
interest and penalties thereon (except to the extent that such interest or penalties arise other than
as a result of a failure of the Purchaser to comply with any of its obligations pursuant to this
Section 6.9), with payment to be made by the Purchaser within five (5) Business Days of receipt
of an appropriate valid VAT invoice or Closing (whichever is the later), provided that, no
payment shall be due from the Purchaser in respect of VAT pursuant to this Section 6.9(a) or
Section 6.9(e) in circumstances where the EMEA Seller, the Joint Administrator or French
Liquidator issues a VAT invoice to the Purchaser outside of any applicable time limits within
which the Purchaser (or a member of its VAT group) can claim credit for the relevant input tax,
and provided further that, for the avoidance of doubt, any amount payable pursuant to this

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Section 6.9(a) in respect of any Optioned Licenses shall be an amount determined by the relevant
EMEA Seller(s).

(b) For the avoidance of doubt, and without prejudice to the generality of this
Section 6.9, if the relevant EMEA Seller or Joint Administrators or French Liquidator forms the
view, acting reasonably, that the supply by the EMEA Sellers of any Assets or assumption from
the EMEA Sellers of any Assumed Liabilities (if relevant) is subject to VAT, or that any other
amounts payable by the Purchaser or any other supplies made to the Purchaser in each case
pursuant to this Agreement and/or in respect of the Optioned Licenses are subject to VAT, then,
except to the extent Section 6.9(d) applies, the relevant EMEA Seller(s) or the Joint
Administrators or the French Liquidator shall be entitled to provide the Purchaser with a VAT
invoice in respect of the supply in question.

(c) Subject to any contrary provision of this Agreement, a VAT invoice
served by any EMEA Seller or the Joint Administrators or the French Liquidator in good faith
and in accordance with applicable VAT laws, absent manifest error, shall be accepted by the
Purchaser as valid, including in relation to amounts of VAT stated in such invoice, except to the
extent the Purchaser has paid the applicable VAT by virtue of Section 6.9(d) below.

(d) Where the liability for VAT in respect of any supply is a liability of the
Purchaser (whether under Section 8 of the Value Added Tax Act 1994 or similar or equivalent
provisions in any member of the European Union) the Purchaser shall account for such VAT to
the relevant Tax Authority within any applicable time limits.

(e) In the event that an amount in respect of VAT is payable under the terms
of this Agreement and/or in respect of the Optioned Licenses in respect of a supply and: (1) the
consideration amount as indicated on the relevant VAT invoice in respect of such supply differs
from the actual consideration amount for that supply for VAT purposes (including, but not
limited to, situations where the Purchase Price is adjusted in accordance with any provision of
this Agreement, and/or the allocation of the Purchase Price to any Assets or Assumed Liabilities
is amended, whether pursuant to Section 2.2.3 or otherwise); (2) a Tax Authority determines in
writing that a supply by any EMEA Seller in respect of which the Purchaser has paid VAT
should properly be characterized as a supply on which VAT does not arise; or (3) for any reason
the rate of VAT applicable to the supply in question is changed, then the relevant EMEA
Seller(s) and the Purchaser agree to co-operate in good faith to correct all relevant VAT invoices
and VAT returns and (without prejudice to the generality of the foregoing):

(i) where the purchase price for any Assets and/or Assumed
Liabilities (if relevant) is increased, or VAT otherwise becomes due, the
Purchaser shall pay to the relevant EMEA Seller (or relevant Tax Authority,
where applicable) an amount equal to any additional VAT that becomes due as a
result of such increase with payment to be made by the Purchaser within five (5)
Business Days of receipt of an appropriate valid VAT invoice or Closing,
whichever is the later; and

(ii) | where the purchase price for any Assets and/or Assumed
Liabilities (if relevant) is decreased, or to the extent that a relevant Tax Authority

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determines in writing that a supply by any EMEA Seller in respect of which the
Purchaser has paid an amount in respect of VAT should properly be characterised
as a supply on which VAT does not arise, or where the rate of VAT applicable to
the supply in question is decreased, or where the Purchaser has otherwise paid an
amount in respect of VAT to an EMEA Seller under Section 6.9(a) that was not
due, the relevant EMEA Seller shall, without unreasonable delay, issue an
appropriate and valid VAT credit note or equivalent to the Purchaser and shall use
its reasonable endeavors to recover the Excess VAT and, to the extent the Excess
VAT is actually recovered and retained by it (or by any member of its VAT
group) or is creditable by any EMEA Seller against any VAT liability of an
EMEA Seller (or is so creditable by any member of its VAT group), the relevant
EMEA Seller shall, without unreasonable delay, pay such Excess VAT to the
Purchaser, and for the purposes of this Section 6.9(e)(ii), “Excess VAT” means
the amount in respect of VAT actually paid (after deducting any previous refund
under this Section 6.9(e)(ii)) by the Purchaser that should not have been paid,
taking into account the decrease in purchase price, the incorrect characterization
of a supply, the decrease in the VAT rate or the amount in respect of VAT that
was paid to an EMEA Seller that was otherwise not due.

(f) The EMEA Sellers, Joint Administrators, French Liquidator and the
Purchaser agree to act in good faith in accordance with Section 2.2.3 for all purposes relating to

VAT (including the preparation and filing of any VAT invoices or Tax Returns with respect to
VAT).

(g) If it is not possible for the EMEA Sellers, Joint Administrators, French
Liquidator and the Purchaser in accordance with Section 2.2.3 to determine before the date
falling five (5) Business Days prior to Closing an amount of consideration for the purposes of
VAT invoicing (notwithstanding that the Purchaser has not by such date delivered a proposed

Partial Allocation pursuant to Section 2.2.3(b)) and in all cases in respect of all sums payable in

respect of any Optioned Licenses, then:

(i) where any of the EMEA Sellers, the Joint Administrators or the
French Liquidator are required to account to a Tax Authority for VAT in respect
of the supply of any goods or services under this Agreement and/or in respect of
the Optioned Licenses, subject to Section 6.9(e), the determination of the relevant
EMEA Seller or the Joint Administrators or the French Liquidator (in each case,
acting reasonably) shall be accepted by the parties for VAT purposes in respect of
such goods or services until and unless replaced pursuant to Section 6.9(e); and

(ii) | where the Purchaser is required to account to a Tax Authority for
VAT in respect of the supply of any goods or services under this Agreement
and/or in respect of the Optioned Licenses, subject to Section 6.9(e), the
determination of the Purchaser (acting reasonably) shall be accepted by the parties
for VAT purposes in respect of such goods or services unless and until replaced
pursuant to Section 6.9(e).

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ARTICLE VII
CONDITIONS TO THE CLOSING

SECTION 7.1. Conditions to Each Party’s Obligation. The Parties’
obligation to effect the Closing is subject to the satisfaction or the express written waiver by all
ofthe Primary Parties, at or prior to the Closing, of the following conditions:

(a) No Injunctions or Restraints. Subject to Section 5.6(f), there shall be in
effect no Law, or any order, injunction, decree or judgment of any court or other Government
Entity prohibiting, preventing or making illegal the consummation of any of the transactions
contemplated hereby.

(b) U.S. Sale Order, Canadian Approval and Vesting Order, and French
Court Order. The U.S. Sale Order shall have been entered in the form of Exhibit F in
accordance with Section 5.1(b), shall not have been modified, revised, vacated or amended in a
manner inconsistent with the provisions of Section 5.1(b) and shall have become a Final Order.
The Canadian Approval and Vesting Order shall have been entered in the form of Exhibit G in
accordance with Section 5.2(a), shall not have been modified, revised, vacated or amended in a
manner inconsistent with the provisions of Section 5.2(a) and shall have become a Final Order.

(c) CDMA Vesting Order. The requirements of paragraph 7 of the CDMA
Vesting Order shall have been satisfied.

SECTION 7.2. Conditions to Sellers’ Obligation. The Sellers’ obligation
to effect the Closing shall be subject to the fulfillment (or express written waiver by the Primary
Seller Parties), at or prior to the Closing, of each of the following conditions:

(a) No Breach of Representations and Warranties. Each of the
representations and warranties contained in Article III (disregarding all materiality and material
adverse effect qualifications contained therein) shall be true and correct (i) as of the Closing Date
as if made on and as of such date or (ii) if made as of a date specified therein, as of such date,
except, in each case, for any failure to be true and correct that, individually and together with
other such failures, has not had and would not reasonably be expected to have a material adverse
effect on the ability of the Purchaser to consummate the transactions contemplated by this
Agreement.

(b) No Breach of Covenants. The Purchaser shall have performed in all
material respects all material covenants, obligations and agreements contained in this Agreement
required to be performed by the Purchaser on or before the Closing.

(c) Officer Certificate. The Sellers shall have been furnished with a
certificate signed by a senior officer of the Purchaser certifying that the conditions set forth in
Sections 7.2(a) and 7.2(b) have been satisfied.

(d) Recent Emergence of Unknown Licenses. Ten (10) Business Days shall

have elapsed since the provision of the most recent notice, if any, that the Sellers have provided
to the Purchaser pursuant to and in compliance with Section 8.1(d)(iii)(B).

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SECTION 7.3. Conditions to Purchaser’s Obligation. The Purchaser’s
obligation to effect the Closing shall be subject to the fulfillment (or express written waiver by
the Purchaser), at or prior to the Closing, of each of the following conditions:

(a) No Breach of Representations and Warranties and Annex I Statements.
Each of the representations and warranties set forth in Article IV and each statement in Annex I,
in each case disregarding all materiality and Material Adverse Effect qualifications contained
therein, shall be true and correct (i) as of the Closing Date as if made on and as of such date or
(ii) if made as of a date specified therein, as of such date, except for any failure to be true and
correct that, individually and together with other such failures, has not had and would not
reasonably be expected to have a Material Adverse Effect.

(b) No Breach of Covenants. The Sellers shall have complied in all material
respects with all material covenants, obligations and agreements contained in this Agreement
required to be performed by the Sellers on or before the Closing.

(c) Officer Certificate. The Purchaser shall have been furnished with a
certificate signed by a senior officer of each of the NA Sellers that the conditions set forth in
Sections 7.3(a) and 7.3(b) have been satisfied.

For the avoidance of doubt, the parties acknowledge that the Purchaser’s knowledge of the
existence of any facts, events, conditions or circumstances, except by reason of the Transaction
Documents and the Sellers Disclosure Schedule, shall not in any way prevent the Purchaser from
exercising all of its rights hereunder and requiring that all conditions in Sections 7.1 and 7.3 be
satisfied in full.

ARTICLE VIII

TERMINATION

SECTION 8.1. Termination. This Agreement may be terminated at any
time prior to the Closing:

(a) by mutual written consent of the Primary Parties;

(b) by either Primary Party, upon written notice to the other Primary Party if
the Closing does not take place on or prior to the date that is one hundred and eighty (180) days
from the date of this Agreement (such date, as it may be extended pursuant to the proviso below,
the “Outside Date”); provided, that the Outside Date shall be extended by successive periods of
forty-five (45) days if on the date of each such extension all of the conditions to the Closing set
forth in Article VII other than the conditions in Section 7.1(a) and/or Section 7.1(b) are satisfied
(or are capable of being satisfied should Closing occur on the next Business Day); provided,
however, that the Outside Date shall in no event be more than three hundred and sixty (360) days
from the date of this Agreement.

(c) by the Purchaser, upon written notice to the Primary Seller Parties:

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(i) in the event of a breach by the Sellers of the Sellers’
representations, warranties, Annex I statements, agreements or covenants set forth
in this Agreement, which breach would result in a failure of any of the conditions
to Closing set forth in Section 7.1, Section 7.3(a) or Section 7.3(b), as applicable,
and which breach, if capable of being cured, has not been cured within twenty-
five (25) days from receipt of written notice thereof from the Purchaser (but not
later than the Outside Date);

(ii) in the event of the Sellers’ breach of their obligation to close the
transactions contemplated hereby at the Closing, which breach, if capable of
being cured, has not been cured within five (5) days from receipt of written notice
thereof from the Purchaser (but not later than the Outside Date);

(iii)upon or following the d —_ etermination by any of the Primary Seller
Parties (by resolution of the board of directors or similar governing body (in the
case of the NA Sellers), decision in writing of the Joint Administrators (in the
case of NNUK), or by entry into a definitive written agreement) or upon or
following written notice to the Purchaser, the official committee of unsecured
creditors (or the equivalent) in any of the Bankruptcy Proceedings or public
announcement (including any filing in a Bankruptcy Court by any of the Primary
Seller Parties) thereof to proceed with any Asset Retention Transaction;

(iv) (A) upon or following the forty-fifth (45th) day after the date of
this Agreement, if the hearing(s) to consider approval of the U.S. Sale Order and
the Canadian Approval and Vesting Order shall not have commenced or the U.S.
Sale Order and the Canadian Approval and Vesting Order shall not have been
entered on such date, or (B) upon or following the date on which the U.S.
Bankruptcy Court shall have stated unconditionally that it will not enter the U.S.
Sale Order or the Canadian Court shall have stated unconditionally that it will not
enter the Canadian Approval and Vesting Order;

(d) by the Primary Seller Parties, upon written notice to the Purchaser:

(i) in the event of a breach by the Purchaser of the Purchaser’s
representations, warranties, agreements or covenants set forth in this Agreement,
which breach would result in a failure of any of the conditions to Closing set forth
in Section 7.1, Section 7.2(a) or Section 7.2(b), as applicable, and which breach, if
capable of being cured, has not been cured within twenty-five (25) days from
receipt of written notice thereof from the Primary Seller Parties (but not later than
the Outside Date);

(ii) | upon the Purchaser’s breach of its obligation to close the
transactions contemplated hereby at the Closing, which breach is not cured within
five (5) days from the receipt of a written notice thereof from the Primary Seller
Parties (but not later than the Outside Date); or

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(iii)in the event that (A) one or more Persons asserts the existence of
an Unknown License (as defined in the U.S. Bidding Procedures Order and the
Canadian Sales Process Order) that has been or would be rejected, repudiated or
terminated pursuant to the procedures described in the U.S. Bidding Procedures
Order or the Canadian Sales Process Order and that the Primary Seller Parties
determine, in the exercise of their reasonable good faith judgment, would, taken
together with all other such Unknown Licenses asserted to exist that have likewise
been or would likewise be rejected, repudiated or terminated pursuant to the
procedures described in the U.S. Bidding Procedures Order or the Canadian Sales
Process Order, constitute a substantial risk of resulting in an aggregate allowed
damage claim at least equal to the dollar amount specified in Section 8.1(d) of the
Sellers Disclosure Schedule, if rejected, repudiated or terminated; (B) the Sellers
promptly notified the Purchaser in writing of such assertion of the existence of
such Unknown License(s) and the basis for the Sellers’ reasonable good faith
estimate of such potential allowed damage claim(s) and provided to the Purchaser
such copy of such Unknown License(s) as in the Sellers’ possession on the basis
set forth in Section 2.3.2(b)(v), and subsequently provided the Purchaser updates
(which shall not constitute a further notice under this clause (B)) as to any
material change in the facts that formed the basis of the Primary Seller Parties’
determination specified in the preceding clause (A); (C) the Primary Seller Parties
have requested in writing the consent of the Purchaser to withdraw the rejection
or repudiation of, or to elect not to terminate, such Unknown License(s) and to
deem each such Unknown License a “Continuing Unlisted License” for purposes
of Section 2.1.1(a) (which consent shall be granted or denied in the Purchaser’s
sole and absolute discretion); and (D) the Purchaser shall not have provided its
consent in writing to such request by the date that is ten (10) Business Days after
the date the Purchaser receives the notices described in the foregoing clauses
(B) and (C) and such copy of the asserted Unknown License in the Sellers’
possession on the basis set forth in Section 2.3.2(b)(v) (it being understood that
the Purchaser’s consent to such withdrawal or election not to terminate will not
affect the Purchaser’s rights under Article IX or any other provision of this
Agreement);

provided,howev er, that the right to terminate this Agreement pursuant to Section 8.1(b),

Section 8.1(c)(i), Section 8.1(c)(ii), Section 8.1(d)(i) or Section 8.1(d)(ii) shall not be available to
the Primary Party seeking to terminate if such Primary Party has breached this Agreement and
such breach has been the cause of, or has resulted in, the event or condition giving rise to a right
to terminate this Agreement.

SECTION 8.2. Effects of Termination. If this Agreement is terminated
pursuant to Section 8.1:

(a) all further obligations of the Parties under or pursuant to this Agreement
shall terminate without further liability of any Party to the other Parties except for the provisions
of, or as provided in, this Section 8.2 and (i) Section 2.2.2 (Good Faith Deposit), (ii) Section 5.7
(Public Announcements), (iii) Section 5.10 (Transaction Expenses), (iv) Section 5.11
(Confidentiality), (vi) Section 8.2 (Effects of Termination) and (vii) Article X (Miscellaneous);

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provided, that, subject to Section 10.15, nothing herein shall relieve any Party from liability for
any breach of this Agreement occurring before the termination hereof; and

(b) the provisions of the Non-Disclosure Agreement and the Supplementary
Non-Disclosure Agreement will continue in full force and effect.

ARTICLE IX
SURVIVAL

SECTION 9.1. Survival. No representations, warranties, covenants or
agreements of any of the Sellers contained herein (including Annex I) or in any other
Transaction Document shall survive the Closing, except (x) for covenants that by their terms are
to be satisfied after the Closing Date, which covenants shall survive in accordance with their
terms, and (y) as may be expressly provided in any Transaction Document other than this
Agreement. No representations and warranties of the Purchaser contained herein or in any other
Transaction Document (except, in the case of such other Transaction Documents, as may be
expressly provided therein) shall survive beyond the Closing Date. This Section 9.1 shall not
limit any Party’s liability for actual fraud (which, for the avoidance of doubt, shall exclude
constructive fraud and equitable fraud).

ARTICLE X
MISCELLANEOUS

SECTION 10.1. Indemnity Relating to Certain License Non-Assignment

and Non-Renewal Protections.

(a) The Purchaser shall indemnify and hold each Seller Indemnitee harmless
from and against any and all Damages suffered by such Seller Indemnitee that arise out of, result
from or are caused by any Action instituted or asserted by a Third Party against such Seller
Indemnitee (a “Section 10.1 Third Party Claim”) as a result of the Purchaser’s use and exercise
(and not merely the grant) of the power of attorney granted pursuant to Section 28(h) of the U.S.
Sale Order or Section 14(h) of the Canadian Approval and Vesting Order (the “License Power
of Attorney”).

(b) The Purchaser shall have the right to undertake, conduct and control,
through counsel of its own choosing and at its own expense, the defense of any Section 10.1
Third Party Claim, and the Seller Indemnitees shall reasonably cooperate with the Purchaser in
such defense at the expense of the Purchaser. Promptly (and in any event within thirty (30) days)
after any Seller Indemnitee actually learns of any Section 10.1 Third Party Claim that is
reasonably likely to give rise to indemnification under this Section 10.1 (a “Section 10.1
Indemnification Claim”), such Seller Indemnitee shall deliver to the Purchaser a notice
executed by such Seller Indemnitee setting forth in reasonable detail the matter giving rise to the
Section 10.1 Indemnification Claim hereunder, including, if available, a reasonable estimate of
the anticipated Damages (such notice, a “Section 10.1 Notice of Claim”). The Primary Seller
Parties may, at their option, participate in the defense of such Section 10.1 Third Party Claim

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(including through the employment of that choice of counsel, who shall be reasonably
satisfactory to the Purchaser, it being understood that the Primary Seller Parties shall be
responsible for the payment of the fees, charges and disbursements of such counsel) provided,
that (i) such participation shall not limit the Purchaser’s control of such Section 10.1 Third Party
Claim and (ii) the Primary Seller Parties and their counsel shall reasonably cooperate with the
Purchaser and its counsel in connection with such Section 10.1 Third Party Claim.

(c) No delay on the part of any Seller Indemnitee in giving a Section 10.1
Notice of Claim shall limit or reduce such Person’s right to indemnity hereunder, or relieve the
Purchaser from any of its obligations under this Section 10.1, unless (and then only to the extent
that) the Purchaser is actually prejudiced thereby (including with respect to the Purchaser’s
ability to fully undertake, conduct and control the defense of the Section 10.1 Third Party Claim
or as a result of a material increase in the liability which the Purchaser would otherwise have
under this Section 10.1).

(d) The Seller Indemnitees shall not compromise or settle any Section 10.1
Third Party Claim without the consent of the Purchaser (which consent shall not be unreasonably
withheld, delayed or conditioned).

SECTION 10.2. Remedies. No failure to exercise, and no delay in
exercising, any right, remedy, power or privilege under this Agreement by any Party will operate
as a waiver of such right, remedy, power or privilege, nor will any single or partial exercise of
any right, remedy, power or privilege under this Agreement preclude any other or further
exercise of such right, remedy, power or privilege or the exercise of any other right, remedy,
power or privilege.

SECTION 10.3. No Third Party Beneficiaries. Except for any
acknowledgments, rights, undertakings, covenants, indemnities, representations or warranties
expressed to be for the benefit of the Joint Administrators,the Fr ench Liquidator and the Seller
Indemnitees, this Agreement is for the sole benefit of the Parties and their permitted assigns and
nothing herein, express or implied, is intended to or shall confer upon any other Person any legal
or equitable right, benefit or remedy of any nature whatsoever under or by reason of this
Agreement.

SECTION 10.4. Consent to Amendments; Waivers. No Party shall be
deemed to have waived any provision of this Agreement or any of the other Transaction
Documents unless such waiver is in writing, and then such waiver shall be limited to the
circumstances set forth in such written waiver. This Agreement shall not be amended, altered or
qualified except by an instrument in writing signed by all the parties hereto or thereto, as the case
may be, at their sole discretion.

SECTION 10.5. Successors and Assigns. Except as otherwise expressly
provided in this Agreement, all representations, warranties, Annex I statements, covenants and
agreements set forth in this Agreement by or on behalf of the Parties will be binding upon and
inure to the benefit of such Parties and their respective successors and permitted assigns. Neither
this Agreement nor any of the rights, interests or obligations hereunder may be assigned by any
Party without the prior written consent of the Primary Seller Parties in case of an assignment by

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the Purchaser or the Purchaser in case of an assignment by any Seller, which consent may be
withheld in such Party’s sole discretion, except for the following assignments which shall not
require consent: (i) assignment to an Affiliate of a Party (provided that the assigning Party
remains liable jointly and severally with its assignee Affiliate for the assigned obligations to the
other Parties), (ii) assignment by a U.S. Debtor to a succeeding entity upon consummation of a
plan of reorganization with respect to such U.S. Debtor pursuant to Chapter 11 of the U.S.
Bankruptcy Code and (iii) assignment by any of the Canadian Debtors to a succeeding entity
pursuant to any plan of arrangement approved by the Canadian Court.

The provisions of this Agreement shall survive for the benefit of the Joint
Administrators, the French Liquidator, their firm, partners, employees, agents, advisers and
representatives notwithstanding the discharge of the Joint Administrators as joint administrators
of the EMEA Sellers, or the French Liquidator as liquidator of NNSA and shall be in addition to,
and not in substitution for, any other right, indemnity or relief otherwise available to each of
them.

SECTION 10.6. Governing Law; Submission to Jurisdiction; Waiver of Jury
Trial.

(a) Subject to Section 10.6(b) and Section 10.6(f), any questions, claims,
disputes, remedies or Actions arising from or related to this Agreement or the transactions
contemplated hereby, and any relief or remedies sought by any Parties, shall be governed
exclusively by the Laws of the State of New York applicable to contracts made and to be
performed in that State and without regard to the rules of conflict of laws of the State of
New York or any other jurisdiction.

(b) To the fullest extent permitted by applicable Law, and except for those
matters specifically required to be determined by the Accounting Arbitrator pursuant to the terms
hereof, each Party:

(i) agrees that any claim, action, proceeding by such Party seeking
any relief whatsoever arising out of, or in connection with, this Agreement, or the
transactions contemplated hereby shall be brought only in (A) the U.S.
Bankruptcy Court, if brought prior to the entry of a final decree closing the
Chapter 11 Cases, or the Canadian Court, if brought prior to the termination of the
CCAA Cases, provided that if (X) a final decree closing the Chapter 11 Cases has
not been entered and (Y) the CCAA Cases have not terminated, the U.S. Debtors,
the Canadian Debtors or the Purchaser may, in accordance with the Cross-Border
Protocol, move the U.S. Bankruptcy Court and the Canadian Court to hold a joint
hearing of the U.S. Bankruptcy Court and the Canadian Court to determine the
appropriate jurisdiction for such claim, action or proceeding, or (B) in the Federal
Courts in the Southern District of New York or the State Courts of the State of
New York, County of New York (collectively, the “New York Courts”), if
brought after entry of a final decree closing the Chapter 11 Cases and termination
of the CCAA Cases (the courts specified in clauses (A) and (B) collectively, the
“Designated Courts”), and shall not be brought in each case, in any other court in
the United States of America, Canada or any court in any other country;

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(ii) | agrees to submit to the jurisdiction of the Designated Courts for
purposes of all legal proceedings arising out of, or in connection with, this
Agreement or the transactions contemplated hereby;

(iii)waives anda __ grees not to assert any objection that it may now or
hereafter have to the laying of the venue of such action brought in any Designated
Court or any claim that any such action brought in any Designated Court has been
brought in an inconvenient forum;

(iv) agrees that the mailing of process or other papers in connection
with any such action or proceeding in the manner provided in Section 10.7 or any
other manner as may be permitted by Law shall be valid and sufficient service
thereof; and

(v) agrees that a final judgment in any such action or proceeding shall
be conclusive and may be enforced in other jurisdictions by suit on the judgment
or in any other manner provided by applicable Law.

(c) The Purchaser hereby appoints (i) Ericsson Canada, Inc. as its authorized
agent (the “Purchaser Authorized Canadian Agent” upon whom process and any other
documents may be served in the CCAA Cases and any Action arising out of, or in connection
with, this Agreement or the transactions contemplated hereby, which may be instituted in the
Canadian Court by any other party hereto, and (ii) Telefonaktiebolaget L M Ericsson (publ) as its
authorized agent (the “Purchaser Authorized EMEA Agent” and together with the Purchaser
Authorized Canadian A gent, the “Purchaser Authorized Agents”) upon whom process may be
served in the EMEA Cases (including the French Case) and any Action arising out of, or in
connection with, this Agreement or the transactions contemplated hereby, which may be
instituted in the English Court or French Court by any other party hereto, which appointment in
each case shall be irrevocable. The Purchaser further agrees to take any and all action, including
the filing of any and all documents and instruments, which may be necessary to continue such
appointments in full force and effect as aforesaid. Service of process upon the applicable
Purchaser Authorized Agent in respect of the relevant jurisdiction and written notice of such
service to the Purchaser shall be deemed, in every respect, effective service of process upon the
Purchaser in relation to such jurisdiction.

(d) Each Seller hereby appoints (i) NNI as its authorized agent (the “Seller
Authorized U.S. Agent”) upon whom process and any other documents may be served in the
Chapter 11 Cases and any Action arising out of, or in connection with, this Agreement or the
transactions contemplated hereby, which may be instituted in the U.S. Bankruptcy Court or in
the NY Courts by any other party hereto, (ii) Norton Rose OR LLP as its authorized agent (the
“Seller Authorized Canadian Agent”) upon whom process and any other documents may be
served in the CCAA Cases and any Action arising out of, or in connection with, this Agreement
or the transactions contemplated hereby, which may be instituted in the Canadian Court by any
other party hereto, which appointment in each case shall be irrevocable, and (iii) NNUK as its
authorized agent (the “Seller Authorized EMEA Agent” and together with the Seller
Authorized U.S. Agent and the Seller Authorized Canadian Agent, the “Seller Authorized
Agents”) upon whom process may be served in the EMEA Cases (including the French Case)

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and any Action arising out of, or in connection with, this Agreement or the transactions
contemplated hereby, which may be instituted in the English Court or French Court by any other
party hereto, which appointment in each case shall be irrevocable. Each such Seller further
agrees to take any and all action, including the filing of any and all documents and instruments,
which may be necessary to continue such appointment in full force and effect as aforesaid.
Service of process upon the applicable Seller Authorized Agent in respect of the relevant
jurisdiction and written notice of such service to the Primary Seller Parties shall be deemed, in
every respect, effective service of process upon every such Seller.

(e) EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY
IN RESPECT OF ANY LITIGATION DIRECTLY OR INDIRECTLY ARISING OUT OF,
UNDER OR IN CONNECTION WITH THIS AGREEMENT OR ANY TRANSACTION
CONTEMPLATED HEREBY OR THEREBY. EACH PARTY (1) CERTIFIES THAT NO
REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE
BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS,
THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION 10.6.

(f) Notwithstanding Section 10.6(a) and (b), the Parties, the Joint
Administrators and the French Liquidator agree that:

(i) any questions, claims, disputes, remedies or Actions arising under
Section 10.18 in respect of the EMEA Sellers or the Joint Administrators and any
questions, claims, disputes, remedies or Actions arising from or related to (A) the
agency of the Joint Administrators, (B) the personal liability of the Joint
Administrators, their firm, partners, employees, advisors, representatives and
agents, (C) their qualification to act as insolvency practitioners in accordance with
Part XIII of the Insolvency Act or (D) their appointment as joint administrators of
the EMEA Sellers and their status as such, to the extent separable from other
claims made hereunder, shall be governed by English law and be subject to the
exclusive jurisdiction of the English courts; and

(ii) | any questions, claims, disputes, remedies or Actions arising under
Section 10.20 and any questions, claims, disputes, remedies or Actions arising
from or related to (A) the agency of the French Liquidator, (B) the personal
liability of the French Liquidator, (C) his appointment as liquidator of NNSA or
the appointment of the French Office Holders of NNSA and their status as such,
shall be governed by French law and be subject to the exclusive jurisdiction of the
Versailles courts (France).

SECTION 10.7. Notices. All demands, notices, communications and
reports provided for in this Agreement shall be in writing and shall be either sent by facsimile
transmission with confirmation to the number specified below or personally delivered or sent by
reputable overnight courier service (delivery charges prepaid) to any Party at the address

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